Case: 1:24-cv-06795 Document #: 59-1 Filed: 08/28/24 Page 1 of 87 PageID #:304




                     Exhibit A
   Case:
     Case:
         1:24-cv-06795
            1:24-cv-06776
                       Document
                          Document
                                #: 59-1
                                   #: 1 Filed:
                                        Filed: 08/01/24
                                               08/28/24 Page
                                                        Page 12 of
                                                                of 86
                                                                   87 PageID
                                                                      PageID #:1
                                                                             #:305




                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF ILLINOIS


  Erie County Medical Center Corporation,                 Case No.
  individually and on behalf of all others
  similarly situated,
                                                          CLASS ACTION COMPLAINT
                       Plaintiff,

               vs.                                        Jury Trial Demanded

  MultiPlan, Inc., Health Care Service
  Corporation, Aetna, Inc., Elevance Health,
  Inc., Centene Corporation, The Cigna Group,
  UnitedHealth Group, Inc., Humana, Inc., and
  Kaiser Foundation Health Plan, Inc.,

                       Defendants.



          1.         Over the course of several years, MultiPlan conspired with the nation’s leading

commercial healthcare insurance providers to fix, suppress, and stabilize the reimbursement rates

that the insurers pay to healthcare providers for out-of-network healthcare services in the United

States.

          2.         MultiPlan’s commercial insurance provider co-conspirators knowingly and

purposefully used shared “repricing” tools sold and promoted by MultiPlan, enabling and

facilitating an anticompetitive scheme that caused Plaintiffs to receive artificially suppressed

reimbursements for out-of-network healthcare services they provided from July 1, 2017 to the

present (the “Class Period”).

          3.         Plaintiff Erie County Medical Center Corporation (“ECMC”) brings this Class

Action Complaint individually and on behalf of a class of all others similarly situated

(collectively, “Plaintiffs”) against Defendants, upon personal knowledge of the facts pertaining



                                                      1
    Case:
      Case:
          1:24-cv-06795
             1:24-cv-06776
                        Document
                           Document
                                 #: 59-1
                                    #: 1 Filed:
                                         Filed: 08/01/24
                                                08/28/24 Page
                                                         Page 23 of
                                                                 of 86
                                                                    87 PageID
                                                                       PageID #:2
                                                                              #:306




to itself, upon information and belief as to all others, and upon the investigation conducted by its

counsel.

                                         BACKGROUND

        4.     ECMC is a public benefit corporation that manages a healthcare system providing

many levels of health services to patients in Western New York. ECMC operates an advanced

academic medical center, including a Level 1 Adult Trauma Center, as well as many other

specialized centers. ECMC also offers primary care, long-term care, and specialty outpatient

services.

        5.     ECMC and Plaintiffs provide some healthcare services on an “in network” basis.

This means that Plaintiffs have agreements with specific commercial healthcare payors1

(“Payors”) where the Payor pays Plaintiffs a negotiated price of the healthcare services a patient

receives, except for any copayment or coinsurance owed by the patient under the terms of their

healthcare plan.

        6.     Plaintiffs also provide many healthcare services on an “out-of-network” basis,

where Plaintiffs do not have an agreement with a given commercial healthcare Payor to accept

the commercial healthcare Payor’s negotiated rates.

        7.     Emergency healthcare is frequently provided by Plaintiffs on an out-of-network

basis. The urgency or severity of a medical situation often brings patients to Plaintiffs’ facilities

regardless of whether in- or out-of-network. Indeed, Plaintiffs have a legal obligation to provide

emergency care in many situations and cannot decline to provide these services on the basis of a

patient being out-of-network. Vital—often life-saving—care is provided as efficiently as


1
  A healthcare “Payor,” “Plan,” or “Network” refers to any payor of commercial health insurance
claims, including health maintenance organizations (“HMOs”), preferred provider organizations
(“PPOs”), third party administrators (“TPAs”), leased networks, and “narrow” networks, unless
otherwise specified. All Defendants are healthcare Payors.

                                                  2
    Case:
      Case:
          1:24-cv-06795
             1:24-cv-06776
                        Document
                           Document
                                 #: 59-1
                                    #: 1 Filed:
                                         Filed: 08/01/24
                                                08/28/24 Page
                                                         Page 34 of
                                                                 of 86
                                                                    87 PageID
                                                                       PageID #:3
                                                                              #:307




possible in these situations.

          8.    There is often considerable expense incurred when Plaintiffs provide emergency

medical care, whether that care is for victims of heart attacks, car wrecks, or any other medical

condition.

          9.    In situations where Payors do not pay the full cost owed to Plaintiffs for

healthcare services, Plaintiffs are not always able to bill those costs to patients.2 In those

circumstances, ECMC and Plaintiffs are dependent on the amount of reimbursements from

Payors.

          10.   Competitive reimbursements by Payors are also important for non-emergency

medical care provided on an out-of-network basis. Important non-emergency healthcare services,

including mental health and substance abuse treatment, are frequently offered by Plaintiffs on an

out-of-network basis.

          11.   For ECMC and Plaintiffs, a substantial amount of hospital revenue is made

through commercial insurance reimbursements. Hospitals, particularly those that serve rural

communities, struggle to cover their rising costs and keep their doors open to the community

members who need their services when there is not adequate reimbursement for their services.

Simply put, a robust competitive reimbursement system “is a matter of survival.”3

          12.   Traditionally, Payors competed to reimburse healthcare providers for out-of-



2
  The federal No Surprises Act, which took effect on January 1, 2022, prohibits “balance billing”
and charging patients more than in-network costs for emergency healthcare services. Even after
this law took effect, healthcare payors have continued to try to minimize reimbursement rates on
claims for out-of-network services covered by the law. In fact, MultiPlan advertises that it can still
“reprice” these claims using its out-of-network claim repricing tools, such as Data iSight.
3
  Brief of the American Hospital Association as Amicus Curiae in Response to Defendant
MultiPlan, Inc.’s Motion to Dismiss, Adventist Health Sys. Sunbelt Healthcare Corp. v. MultiPlan,
Inc., No. 1:23cv7031 (S.D.N.Y. Jan. 10, 2024), ECF No. 72 (hereinafter “AHA Amicus Br.”).


                                                   3
  Case:
    Case:
        1:24-cv-06795
           1:24-cv-06776
                      Document
                         Document
                               #: 59-1
                                  #: 1 Filed:
                                       Filed: 08/01/24
                                              08/28/24 Page
                                                       Page 45 of
                                                               of 86
                                                                  87 PageID
                                                                     PageID #:4
                                                                            #:308




network services at “usual and customary” rates (also known as “usual, reasonable, and

customary” or “reasonable and customary”). The “usual and customary” rate was determined

independently by Payors relying on independent benchmarking databases that aggregated

historical information to provide estimates of fair and consistent reimbursement rates.

       13.        Payors have also historically competed on the basis of reimbursement rates to

ensure healthcare providers would continue to provide out-of-network services to their insurance

customers in non-emergency scenarios, where providers could choose to decline to provide care.

       14.        Payors disliked this competitive system—describing it as a “pain point” and

“major area of concern”—because the cost of providing competitive reimbursements ate into the

Payors’ ever-increasing profits.

             A.       MultiPlan’s Role as a Healthcare Payor

       15.        MultiPlan is one of the healthcare Payors that felt the “pain” of paying

competitive reimbursements to out-of-network healthcare providers.

       16.        MultiPlan competes with many other health insurance companies, operating many

nationwide PPOs in direct competition with the Non-MultiPlan Defendants, such as

UnitedHealth and Cigna. MultiPlan, as a healthcare Payor, negotiates the reimbursement rates

for providers in its network.

       17.        Starting in the mid-2000s, MultiPlan made a series of purchases of companies that

had worked to develop tools to “reprice” reimbursements of out-of-network claims.

       18.        “Repricing” in this context means the intentional and artificial reduction of

reimbursement rates paid to Plaintiffs. MultiPlan’s “repricing” tools were developed to create

artificial models that suppressed reimbursement rates, pushing the rates far lower than traditional

competitive rates, and significantly lower than the reasonable rates charged by healthcare



                                                    4
  Case:
    Case:
        1:24-cv-06795
           1:24-cv-06776
                      Document
                         Document
                               #: 59-1
                                  #: 1 Filed:
                                       Filed: 08/01/24
                                              08/28/24 Page
                                                       Page 56 of
                                                               of 86
                                                                  87 PageID
                                                                     PageID #:5
                                                                            #:309




providers.

       19.      However, MultiPlan could not effectively use these repricing tools on its own. If

no other insurance company used these algorithms to suppress reimbursements, then providers

would simply refuse to treat patients covered by MultiPlan’s PPO where possible.

       20.      MultiPlan therefore began recruiting its direct competitors to be its co-

conspirators.

       21.      MultiPlan advertised the repricing tools as an “out-of-network cost containment”

or “cost management” solution at marketing events, including at meetings at luxury resorts and

road shows. At these events, MultiPlan’s executives met with competitors’ executives to tout the

tools’ effectiveness in suppressing reimbursement rates and workshopped ways to suppress rates

even further.

       22.      MultiPlan even distributed secret white papers to its competitors to describe how

MultiPlan’s repricing tools were effective at suppressing out-of-network reimbursement rates.

       23.      MultiPlan also directly benefits in another way from its competitors adopting its

repricing tools. MultiPlan takes a percentage cut of the “savings” of its competitors—i.e., the

difference between the bill for out-of-network services and the artificially suppressed

reimbursement amount—as a fee for use its repricing tools.

       24.      MultiPlan boasts that its repricing tools generate billions of dollars annually in

these so-called “savings” by forcing providers to accept 61-81% underpayments on their out-of-

network reimbursement claims. MultiPlan’s co-conspirators then in turn pay a 5-7% fee to

MultiPlan for using the repricing tools, although the fee has reached 9.75%.

       25.      MultiPlan massively profits from this strategy, along with the co-conspirator

insurance companies. MultiPlan and its co-conspirators charge their customers an even higher



                                                  5
  Case:
    Case:
        1:24-cv-06795
           1:24-cv-06776
                      Document
                         Document
                               #: 59-1
                                  #: 1 Filed:
                                       Filed: 08/01/24
                                              08/28/24 Page
                                                       Page 67 of
                                                               of 86
                                                                  87 PageID
                                                                     PageID #:6
                                                                            #:310




percentage of the “savings”—as high as 35%—as a “processing fee.” The more the Defendants

suppress payments to providers, the more revenue they generate.

       26.     This is not the first time healthcare Payors seeking to suppress out-of-network

reimbursement rates by using similar “repricing” tools. A 2008 investigation by the New York

Attorney General uncovered that UnitedHealth, Aetna, and Cigna used repricing tools and

services offered by a subsidiary of UnitedHealth Group called Ingenix to suppress

reimbursement rates.

       27.     The New York Attorney General’s investigation uncovered that the competing

health insurers had shared detailed out-of-network claim information with Ingenix so it could

calculate out-of-network reimbursement rates. The use of Ingenix’s data resulted in claim

underpayments of 10%- 28%. The investigation resulted in class action litigation and hundreds

of millions of dollars in settlements both with private plaintiffs and the government. The insurers

also agreed to cease using Ingenix and contribute toward the creation of FAIR Health. a new,

independent database to store aggregated claim information. Under the terms of their agreement

with the New York Attorney General’s office, they had to use FAIR Health for five years.

       28.     In 2014, after the five-year term from the New York AG’s office expired,

MultiPlan ramped up its conspiracy recruitment efforts, and by mid-2017, all major health

insurance Payors in the United States had joined the conspiracy and were using MultiPlan’s

repricing tools to suppress out-of-network reimbursements. The conspiracy reached the critical

mass necessary to have its desired effects once UnitedHealthcare, the largest health insurance

company in the United States, joined the conspiracy on July 1, 2017.

       29.     The scope of MultiPlan’s conspiracy generates investments in and profits for the

company. For example, in a 2023 investor presentation, MultiPlan highlighted that its payor



                                                 6
   Case:
     Case:
         1:24-cv-06795
            1:24-cv-06776
                       Document
                          Document
                                #: 59-1
                                   #: 1 Filed:
                                        Filed: 08/01/24
                                               08/28/24 Page
                                                        Page 78 of
                                                                of 86
                                                                   87 PageID
                                                                      PageID #:7
                                                                             #:311




customers include “all of the top 15 insurers.”

             B.       The Mechanics of MultiPlan’s Conspiracy

       30.        Here is how the conspiracy works: Defendants agree to provide MultiPlan with

real-time, confidential, and detailed claims data that MultiPlan, in its words, “ingest[s]”—i.e.,

combines in a database used by its repricing tools, which include MultiPlan’s principal repricing

tool, Data iSight, and Viant, Pro Pricer, and MARS. Or, as MultiPlan puts it, it becomes “deeply

integrated into the proprietary claims adjudication system of its customers” and then uses all these

proprietary data sources to “drive” its analytics system. Defendants further agree to submit

healthcare providers’ out-of-network reimbursement claims to MultiPlan. MultiPlan’s repricing

tools and algorithms then use the information in the database—Defendants’ proprietary claims

data—to generate a reimbursement rate far lower—“ridiculously low” and “crazy low” in the

words of former MultiPlan employees—than the rate generated by using the traditional “usual and

customary” method. Defendants commit to using MultiPlan’s repricing method and tools and

having MultiPlan send the artificially suppressed reimbursement rates to providers like Plaintiffs.

MultiPlan demands that the providers accept the repriced claim in mere days, even hours, or risk

even further reduction in the reimbursement rate. MultiPlan also has forbidden the providers from

seeking additional reimbursement from any other source, giving them no way to mitigate their

damages. Once the providers have capitulated to these coercive tactics, MultiPlan collects its fee

for acting as, to use the words of one analyst, “a mafia enforcer for insurers.”

       31.        The conspiracy proceeds apace—and generates billions in revenue for its

members—because the widespread use of MultiPlan’s repricing tools, particularly among the

biggest health insurers, gives Plaintiffs no realistic option other than accepting these artificially

suppressed reimbursement rates. The sheer volume of reimbursement claims makes it



                                                   7
  Case:
    Case:
        1:24-cv-06795
           1:24-cv-06776
                      Document
                         Document
                               #: 59-1
                                  #: 1 Filed:
                                       Filed: 08/01/24
                                              08/28/24 Page
                                                       Page 89 of
                                                               of 86
                                                                  87 PageID
                                                                     PageID #:8
                                                                            #:312




impracticable for Plaintiffs to negotiate with MultiPlan. And even if they had the time and

resources for negotiations, MultiPlan would benefit from knowing that it repriced the claims as

part of a nationwide conspiracy with its largest competitors, giving the providers nowhere to turn

for relief. Moreover, some Defendants have instructed MultiPlan to make its claims processed with

MultiPlan’s repricing tools non-negotiable. MultiPlan brags that, by forcing Plaintiffs into this

bind, they successfully impose these artificially suppressed, unsustainable rates on providers

99.4% of the time. It has successfully replaced the traditional “reasonable and customary” model

with its anticompetitive repricing tools.

       32.     Defendants’ price-fixing conspiracy has massively affected the healthcare

economy. By 2022, MultiPlan used its repricing tools to fix prices on 370,000 out-of-network

claims daily for over 700 payors, resulting in underpayments of $22 billion annually to providers.

In 2023, underpayments rose to $22.9 billion. The conspiracy continued even through the once-in-

a-century national health crisis caused by the COVID-19 pandemic. While Plaintiffs suffered

financially while struggling to provide lifesaving care to patients during the COVID lockdowns,

Defendants benefitted by bilking providers out of billions in revenue for the services they provide.

That dichotomy continues to this day.

       33.     Here, there is direct evidence of Defendants’ conspiracy. In investor presentations

and Securities and Exchange Commission (“SEC”) filings, MultiPlan acknowledges that its

customers include the largest health insurance providers—i.e., the Non-MultiPlan Defendants.

Likewise, the Non-MultiPlan Defendants disclose that they use MultiPlan’s repricing tools to set

the reimbursement rate for out-of-pocket healthcare services. Moreover, MultiPlan facilitated

meetings between insurance executives so they could discuss using MultiPlan to suppress out-of-

network reimbursements rates. Plus, at least one Defendant, UnitedHealth Group, admits to



                                                 8
  Case:
     Case:
        1:24-cv-06795
           1:24-cv-06776
                      Document
                         Document
                               #: 59-1
                                   #: 1 Filed:
                                        Filed: 08/28/24
                                               08/01/24 Page
                                                        Page 10
                                                             9 ofof86
                                                                    87PageID
                                                                       PageID#:9
                                                                              #:313




outsourcing its reimbursement rate pricing to MultiPlan to bring its reimbursement rates in line

with its competitors. Importantly, MultiPlan makes clear that it combines the private, real-time

claims data of all its customers to generate its reimbursement rates. Thus, Defendants knew that

when they provided their private, real-time claims data, their competitors would do the same, and

all that private data would factor into the reimbursement rate suggested by MultiPlan.

       34.     This direct evidence, by itself, suffices to prove the antitrust violation.

Nevertheless, compelling circumstantial evidence—Defendants’ parallel conduct coupled with

plus factors that render the market susceptible to collusion—yields the same conclusion.

       35.     There is substantial evidence of (a) motive to conspire, (b) actions against interest,

and (c) traditional conspiracy evidence. First, Defendants had the motive to conspire given the

market’s structural features and the “concern” and “pain” generated by the traditional, competitive

usual and customary reimbursement methodology. Second, abandoning that methodology would

have been against Defendants’ self-interest had they not conspired to fix reimbursement rates.

Third, various forms of traditional conspiracy evidence tend to demonstrate price-fixing: radically

changing the methodology for setting out-of-network reimbursement rates; providing and

exchanging real-time, confidential claims data to and with MultiPlan; opportunities for Defendants

to conspire, including at events hosted by MultiPlan; prior industry collusion on payment of out-

of-network claims by some of the same Defendants here that was the subject of a government

investigation, litigation, court findings that the collusion could have violated antitrust law, and

hundreds of millions of dollars in settlements; and Defendants’ knowing adoption of a common

course of action, namely outsourcing the pricing of out-of-network reimbursement claims to

MultiPlan.

       36.     As set forth below, Defendants’ scheme violates federal antitrust law in multiple



                                                  9
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page10
                                                             11ofof86
                                                                    87PageID
                                                                       PageID#:10
                                                                              #:314




ways. First, although MultiPlan and the Non-MultiPlan Defendants compete horizontally as

healthcare payors, they agreed with one another to artificially suppress reimbursement rates paid

to healthcare providers for out-of-network services. This facially anticompetitive horizontal

agreement restrains trade and is a per se violation of Section 1 of the Sherman Antitrust Act.

       37.     Even if MultiPlan and the Non-MultiPlan Defendants did not or could not

potentially compete as healthcare payors, they have nonetheless engaged in a horizontal hub-and-

spoke conspiracy to fix the price of out-of-network reimbursement claims. Under this scenario,

MultiPlan (the hub) entered into agreements with the Non-MultiPlan Defendants and other co-

conspirators (the spokes), which had the intent and effect of outsourcing decisions on pricing out-

of-network reimbursement claims to a single common entity, MultiPlan (the hub). Moreover, the

Non-MultiPlan Defendants and other co-conspirators did so while knowing that one another were

doing the same thing and for the same purpose (the rim). This facially anticompetitive conduct is

a per se violation of Section 1 of the Sherman Antitrust Act. Even if Defendants’ conduct somehow

benefitted competition and furthered consumer welfare in some minimal way (it does not), the

conspiracy’s anticompetitive effects would vastly outweigh any benefits to Plaintiffs and should

thus also be swiftly condemned under the Rule of Reason.

       38.     Finally, the Defendants’ agreements to use MultiPlan’s repricing tools to set

reimbursement rates on out-of-network claims violates Section 1 of the Sherman Antitrust Act

because those agreements unreasonably restrain trade and have anticompetitive effects throughout

the market for reimbursements for out-of-network healthcare services while providing no

countervailing procompetitive benefits.

       39.     These violations of the antitrust laws have caused Plaintiffs to suffer massive

economic losses as they have received and continue to receive artificially suppressed



                                                10
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page11
                                                             12ofof86
                                                                    87PageID
                                                                       PageID#:11
                                                                              #:315




reimbursement rates on out-of-network reimbursement claims. As MultiPlan brags, Plaintiffs

receive these artificially suppressed reimbursement rates on 98-99% of the out-of-network

reimbursement claims, underscoring the vast scope of Plaintiffs’ injuries and the conspiracy’s

impact.

          40.        Plaintiffs would have received fair and competitive reimbursements for their out-

of-network healthcare services in the absence of Defendants’ conspiracy. The antitrust laws aim to

prevent injuries that stem from a conspiracy to systematically suppress the price paid for a good

or service, such as out-of-network healthcare services.

          41.        Plaintiffs bring this action to recover all damages and other relief necessary and

proper under federal antitrust law.

                                                  PARTIES

                A.       Plaintiff

          42.        Plaintiff Erie County Medical Center Corporation (“ECMC”) is a state public

benefit corporation operating a healthcare system that includes an advanced medical center with

573 inpatient beds, an adult trauma center, a regional center for burn care, behavioral health

services, other specialized inpatient medical centers, on- and off-campus primary care, various

outpatient specialty care centers, and a long-term care facility. It maintains its principal place of

business in Buffalo, New York. ECMC provides out-of-network healthcare services at all its

locations. It has had out-of-network claims repriced by Defendants during the Class Period,

including within the four years preceding the filing of this Complaint.

                B.       Defendants

          43.        MultiPlan and Its Related Corporate Entities. Unless otherwise specified, this

Complaint refers to MultiPlan, Inc., MultiPlan Corporation, Churchill Capital Corporation III,



                                                      11
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page12
                                                             13ofof86
                                                                    87PageID
                                                                       PageID#:12
                                                                              #:316




Viant Holdings, Inc., Viant Payment Systems, Inc., National Care Network, LP, and National

Care Network, LLC, collectively as “MultiPlan.”

       44.     Defendant MultiPlan, Inc., is a New York corporation with its principal place of

business at 115 Fifth Avenue, 7th Floor, New York, New York 10003.

       45.     MultiPlan Corporation, a publicly traded company, is the parent company of

MultiPlan, Inc., and the various entities that carry out MultiPlan’s operations.

       46.     MultiPlan Corporation was previously known as Churchill Capital Corporation III

(“Churchill Capital”). Churchill Capital was incorporated in Delaware and formed for the

purpose of operating as a SPAC, i.e., a special-purpose acquisition company, to take MultiPlan

Inc., public. Churchill Capital changed its name to MultiPlan Corporation after its acquisition of

MultiPlan, Inc. in October 2020. After MultiPlan went public, the private equity firm Hellman &

Friedman and the Saudi Arabian sovereign wealth fund became two of its largest shareholders.

       47.     MultiPlan acquired Viant Holdings, Inc., a healthcare cost management company,

in 2010.

       48.     In 2011, MultiPlan acquired National Care Network, LLC.

       49.     Health Care Service Corporation (“HCSC”), a Mutual Legal Reserve Company

headquartered in Illinois, is the parent company, or otherwise affiliated or related company, to

many commercial health insurance and prescription drug plans that operate in the United States.

HCSC is an independent licensee of the Blue Cross and Blue Shield Association (BCBSA)

separately headquartered in Chicago, Illinois. HCSC does business in the State of Illinois as Blue

Cross and Blue Shield of Illinois (BCBSIL). The various HCSC and BCBSA plans issue insurance

or provide administrative services concerning healthcare claims in the form of (a) fully insured

commercial health insurance plans, (2) self-funded administrative service only health plans, (3)



                                                 12
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page13
                                                             14ofof86
                                                                    87PageID
                                                                       PageID#:13
                                                                              #:317




hybrid-funded health plans, (4) Medicare Advantage plans, and (5) Medicaid plans.

       50.     Aetna, Inc., a subsidiary of CVS Health Corporation, is a Delaware corporation

headquartered in Connecticut. Aetna has a commercial insurance network that pays in- and out-of-

network healthcare claims from healthcare providers in all 50 states and Washington, D.C. Aetna

is the parent company, or otherwise affiliated or related company, to many commercial health

insurance and prescription drug plans operating in the United States. Those plans issue insurance

or provide administrative services concerning healthcare claims in the form of (a) fully insured

commercial health insurance plans, (2) self-funded administrative service only health plans, (3)

hybrid-funded health plans, (4) Medicare Advantage plans, and (5) Medicaid plans.

       51.     Elevance Health, Inc., formerly known as Anthem, Inc., an Indiana corporation

headquartered in Indiana, includes many Blue Cross Blue Shield plans. Elevance offers health

insurance plans in California, Colorado, Connecticut, Georgia, Indiana, Kentucky, Maine,

Missouri, Nevada, New Hampshire, New York, Ohio, Virginia, and Wisconsin. Elevance is the

parent company, or otherwise affiliated or related company, to many commercial health insurance

and prescription drug plans operating in the United States. Those plans issue insurance or provide

administrative services concerning healthcare claims in the form of (a) fully insured commercial

health insurance plans, (2) self-funded administrative service only health plans, (3) hybrid-funded

health plans, (4) Medicare Advantage plans, and (5) Medicaid plans.

       52.     Centene Corporation, a Delaware corporation headquartered in Missouri, is the

parent company, or otherwise affiliated or related company, to many commercial health insurance

and prescription drug plans operating in the United States. Those plans issue insurance or provide

administrative services concerning healthcare claims in the form of (a) fully insured commercial

health insurance plans, (2) self-funded administrative service only health plans, (3) Medicare



                                                13
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page14
                                                             15ofof86
                                                                    87PageID
                                                                       PageID#:14
                                                                              #:318




Advantage plans, and (4) Medicaid plans.

       53.     The Cigna Group, a Delaware corporation headquartered in Connecticut, is the

parent company, or otherwise affiliated or related company, to many commercial health insurance

and prescription drug plans operating in the United States. Those plans issue insurance or provide

administrative services concerning healthcare claims in the form of (a) fully insured commercial

health insurance plans, (2) self-funded administrative service only health plans, (3) hybrid-funded

health plans, (4) Medicare Advantage plans, and (5) Medicaid plans.

       54.     UnitedHealth Group, Inc., a vertically integrated Delaware corporation

headquartered in Minnesota, consists of two divisions, UnitedHealthcare and Optum.

UnitedHealthcare, the largest commercial health insurance company in the United States, provides

health benefit plans. Optum provides other health services. UnitedHealth Group has various

wholly owned subsidiaries, including UnitedHealthcare, which pays in- and out-of-network claims

from healthcare providers in every state and the District of Columbia. UnitedHealth Group’s

insurance plans issue insurance or provide administrative services concerning healthcare claims in

the form of (a) fully insured commercial health insurance plans, (2) self-funded administrative

service only health plans, (3) hybrid-funded health plans, (4) Medicare Advantage plans, and (5)

Medicaid plans.

       55.     Humana, Inc., a Delaware corporation headquartered in Kentucky, is the parent

company, or otherwise affiliated or related company, to many commercial health insurance and

prescription drug plans operating in the United States. Those plans issue insurance or provide

administrative services concerning healthcare claims in the form of (a) fully insured commercial

health insurance plans, (2) self-funded administrative service only health plans, (3) hybrid-funded

health plans, (4) Medicare Advantage plans, and (5) Medicaid plans.



                                                14
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page15
                                                             16ofof86
                                                                    87PageID
                                                                       PageID#:15
                                                                              #:319




         56.        Kaiser Foundation Health Plan, Inc. (“KFHP”) is a California corporation

headquartered in California. KFHP is the parent company, or otherwise is an affiliated or related

company, to many commercial health insurance and prescription drug plans operating in the

United States. Those plans issue insurance or provide administrative services concerning

healthcare claims in the form of (1) fully insured commercial health insurance plans, (2) self-

funded administrative service only health plans, (3) Medicare Advantage plans, and (4) Medicaid

plans.

         57.        Aetna, Elevance, Centene, Cigna, HCSC, UnitedHealth Group, Humana, and

KFHP have all entered into an out-of-network repricing agreement with MultiPlan, participated

in the conspiracy, and performed acts and made statements in furtherance of the conspiracy.

               C.       Co-Conspirators

         58.        Co-conspirators in the scheme include any person or entity who has entered into

an out-of-network repricing agreement with MultiPlan, used MultiPlan’s out-of-network claim

repricing tools to process claims for out-of-network healthcare services, or otherwise participated

with Defendants in the alleged anticompetitive conduct and have performed and made

statements in furtherance of the conspiracy. Defendants are jointly and severally liable for all

acts or omissions of the co-conspirators.

                                       JURISDICTION & VENUE

         59.        This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337

because this action arises out of Section 1 of the Sherman Antitrust Act, 15 U.S.C. §§ 1 and 3, and

Sections 4 and 16 of the Clayton Antitrust Act, 15 U.S.C. §§ 15 and 26.

         60.        This Court also has subject matter jurisdiction over this lawsuit under the Class

Action Fairness Act, 28 U.S.C. § 1332(d)(2) because this is a proposed class action in which: (1)



                                                     15
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page16
                                                             17ofof86
                                                                    87PageID
                                                                       PageID#:16
                                                                              #:320




there are at least 100 Class members; (2) the combined claims of Class members exceed

$5,000,000, exclusive of interests and costs; and (3) Defendants and at least one Class member are

domiciled in different states.

       61.        Venue is proper in this District pursuant to Section 12 of the Clayton Antitrust Act,

15 U.S.C. § 22, and 28 U.S.C. § 1391, because one or more Defendants maintain business facilities,

have agents, transact business, and are otherwise found within this District and certain unlawful

acts alleged herein were performed and had effects within this District.

       62.        This Court has personal jurisdiction over Defendants under Section 12 of the

Clayton Antitrust Act, 15 U.S.C. § 22 and Illinois’s long-arm statute, 735 Ill. Comp. Stat. 5/2-

209(a). Defendants, directly or through their divisions, subsidiaries, predecessors, agents, or

affiliates, may be found in and transact business in Illinois, including by offering health insurance

plans in the state; sending confidential, proprietary claims data concerning claims for out-of-

network healthcare services provided in Illinois to MultiPlan for use in MultiPlan’s database; using

MultiPlan and its claim repricing tools to reprice, pay, and negotiate reimbursements for out-of-

network commercial health insurance claims arising from out-of-network healthcare services

provided in Illinois.

                                     FACTUAL ALLEGATIONS

             A.       All Defendants Compete Directly As Insurance Companies.

       63.        Defendants operate multiple nationwide networks of “preferred” healthcare

providers, known as Preferred Provider Organization (“PPO”) networks. To create these PPOs,

Defendants recruit healthcare providers, negotiate reimbursement rates with them, and set quality

and credentialing expectations for them. Then, Defendants sell access to their PPO networks as

part of a health insurance plan. Subscribers to insurance plans with PPOs can access any healthcare



                                                   16
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page17
                                                             18ofof86
                                                                    87PageID
                                                                       PageID#:17
                                                                              #:321




provider in the PPO’s network (“in-network providers”) at a reduced rate, but typically pay a

greater portion of a healthcare provider’s fee if they choose a provider who does not belong to their

insurer’s PPO network (“out-of-network providers”).

         64.   For example, Defendant Aetna offers the Aetna Open Choice PPO plans.

Defendant Elevance, Defendant HCSC, and other Blue Cross Blue Shield entities offer Blue

Choice PPO plans. Defendant UnitedHealth offers UnitedHealthcare Options PPO Plans.

Defendant Centene offers its PPO plans through its Ambetter Health product. Defendant Cigna

offers the Cigna PPO Network. Finally, Defendant Humana offers Medicare Advantage PPO

Plans.

         65.   MultiPlan describes itself “as a leading independent national” PPO. Indeed, in

2023, MultiPlan advertised that it owns and operates “the largest independent, nationwide

primary” PPO in the United States, called the PHCS Network, which includes “more than one

million health care providers nationwide: 920,000 practitioners, 4,800 acute care hospitals and

87,000 ancillary facilities.” A primary PPO network like PHCS serves as the network of

healthcare providers for health insurance companies and other payors of commercial health

insurance claims that lack “their own direct contractual discount arrangements with providers.”

         66.   In addition to its nationwide primary PPO network, PHCS Network, MultiPlan

offers regional PPO networks. For example, its HealthEOS and HealthEOS Plus Networks serve

Wisconsin, Michigan, Minnesota, and Illinois. Beech Street Network is MultiPlan’s regional PPO

network that serves Alaska, Nevada, and Utah. And MultiPlan’s AMN/HMN/RAN Network serves

Arizona and Hawaii. MultiPlan also markets three complementary PPO networks—MultiPlan

Network, Beech Street Network, and IHP Network—through which competing healthcare payors,

after purchasing access, may expand their rosters of in-network providers.



                                                 17
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page18
                                                             19ofof86
                                                                    87PageID
                                                                       PageID#:18
                                                                              #:322




       67.         Various entities subscribe to MultiPlan’s primary PPO Network, including

provider- sponsored and independent health plans, union health plans, and TPAs. And many

other entities subscribe to MultiPlan’s complementary PPO networks, including “large

commercial insurers, property and casualty carriers via their bill review vendors, Taft-Hartley

plans, provider-sponsored and independent health plans, and some TPAs.”

       68.         MultiPlan profits by selling access to its multitudinous PPO networks to

competing insurance companies and other healthcare payors, including the Non-MultiPlan

Defendants.

       69.         MultiPlan’s PPO networks compete with other commercial health insurance

payors, including the Non-MultiPlan Defendants, to contract with healthcare providers and expand

the size of their respective networks. In fact, MultiPlan admits that it competes directly with the

PPO networks offered by the Non-MultiPlan Defendants to entice healthcare providers to join

their respective networks. In its Annual Report filed with the SEC on February 29, 2024,

MultiPlan stated that, when providing its “network-based services” it competes “directly with

other independent PPO networks,” including “with PPO networks owned by our large Payor

customers.” It made similar statements in its Annual Reports from 2021 through 2023.

              B.       The Importance of Out-of-Network Services.

       70.         According to the Kaiser Family Foundation’s 2023 survey of employees, PPOs

are the most common type of employer-provided healthcare plan, covering almost half of all

covered employees in the United States.

       71.         PPOs are desirable in large part for their flexibility: “[u]nlike an HMO, a PPO

offers [insureds] the freedom to receive care from any provider—in or out of [] network.” In other

words, PPOs enable their subscribers to see any out-of-network doctors or specialists at any



                                                   18
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page19
                                                             20ofof86
                                                                    87PageID
                                                                       PageID#:19
                                                                              #:323




hospital they may require. Not only does this make finding care easier by way of expanding the

selection pool, but it also enables insureds to select the doctor they want in the location they want

and at the time they need them.

       72.         The ability to access out-of-network services is also important because,

“[s]ometimes, where you get healthcare—or who provides it—is out of your control.” For

example, an insured may need emergency care and therefore choose the most accessible provider

without a thought as to whether they are in or out of their insurer’s PPO network. Or an insured

may “have a unique medical condition and the services are not available from in-network

providers.”

       73.         Likewise, consumers may need to seek out-of-network healthcare to access mental

health or substance abuse treatment. For instance, one California woman could only find an out-

of-network provider to provide treatment for her son’s opioid addiction, even though she had her

employer’s most expensive health insurance plan.

       74.         Out-of-network availability is also important in instances where in-network

services “are not available as soon as you need them” or when your primary care physician

“determines that a non-network provider can best provide the service.”

       75.         Despite recognizing the many benefits of out-of-network services, Defendants

encourage their insureds to “[s]ave money by staying in network.”

              C.       Relevant Product Market

       76.         The relevant product market for purposes of Plaintiffs’ claims, assuming a

relevant antitrust market need be defined, is the market for reimbursements paid by commercial

insurers to healthcare providers for out-of-network medical services (the “Reimbursement

Market”). Within this market, there are submarkets for reimbursements paid by each specific

commercial insurer (or other payor) for the out-of-network medical services provided to their

                                                   19
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page20
                                                             21ofof86
                                                                    87PageID
                                                                       PageID#:20
                                                                              #:324




insureds. In this market and its submarkets, healthcare providers like Plaintiffs function as sellers

of out-of-network medical services, while commercial insurers like Defendants function as buyers

of those services.

             D.       Relevant Geographic Market

       77.        The relevant geographic market for purposes of Plaintiffs’ claims, assuming a

relevant antitrust market need be defined, is the United States.

       78.        Medical providers in the United States cannot reasonably turn to payors in other

countries—where private medical insurance is uncommon or non-existent and nearly all medical

care is administered as part of a comprehensive government program—to be reimbursed of out-

of-network medical services. The healthcare industry in the United States, including the market

for reimbursement of out-of-network services, is universally recognized by industry participants

as distinct from healthcare industries in foreign countries and is subject to a variety of unique

federal and state laws and regulations that apply only in the United States.

       79.        The relevant geographic market is not smaller than the United States because

healthcare providers can practicably and do turn to commercial insurers located in other parts of

the country for reimbursement of out-of-network services. Healthcare providers can choose to

file claims on behalf of their out-of-network patient and are not bound by the patient’s contract

with his or her health insurer.

             E.       The Out-of-Network Reimbursement Market Traditionally Operated
                      Through Independent Decision-Making.

       80.        Before the at-issue conspiracy began, each Defendant made independent decisions

about how much it would pay for out-of-network medical services. At that time, they each had a

competitive incentive to pay reasonable reimbursement amounts to ensure their out-of-network

healthcare providers would continue to provide services to their insureds in non-emergency


                                                  20
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page21
                                                             22ofof86
                                                                    87PageID
                                                                       PageID#:21
                                                                              #:325




scenarios. Increasingly, however, Defendants began viewing their obligation to pay for their

subscribers’ out-of-network services as a “pain point” and “major area of concern” cutting into

their still exorbitant profits.

              F.       Defendants Attempted and Failed to Change the Traditional
                       Reimbursement Methods.

        81.        Defendants employed various tactics to change the reimbursement method with

an aim toward increasing their already large profits by decreasing the amount they would

reimburse for out-of-network care. These tactics included UnitedHealth and other Defendants’

pre-2009 use of tools like those now at issue aimed at underpaying reimbursements for out-of-

network care. The New York Attorney General responded to these payors’ efforts by

implementing a publicly available healthcare claims database to promote reimbursement

transparency. But this solution was short lived.

        82.        In 2008, the New York Attorney General began a year-long investigation of

UnitedHealth Group, Inc.’s subsidiary, Ingenix, a data company that created schedules to help its

users— including UnitedHealth, Aetna, and Cigna—determine their reimbursement rates for out-

of-network care.

        83.        The Attorney General’s investigation revealed that competing health insurers

were sharing detailed information on their out-of-network claims with Ingenix for it to calculate

out-of-network reimbursement rates for commercial health insurers. Ingenix’s database,

according to the investigation, resulted in out-of-network claims being underpaid by 10% to 28%

depending on the service involved, which increased costs for consumers.

        84.        On January 14, 2009, UnitedHealth settled with the New York Attorney General,

agreeing to shut down the Ingenix database and contribute $50 million toward the creation of a

new, independent database that would house more aggregated information. This new database


                                                   21
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page22
                                                             23ofof86
                                                                    87PageID
                                                                       PageID#:22
                                                                              #:326




became known as FAIR Health.

       85.        Other commercial health insurers, including Cigna and Aetna, entered similar

settlement agreements with the New York Attorney General. On January 15, 2009, Aetna agreed

to end its relationship with Ingenix and pay $20 million toward FAIR Health’s development.

Similarly, on February 18, 2009, WellPoint, Inc. agreed to stop using Ingenix and contribute $10

million toward the creation of FAIR Health.

       86.        UnitedHealth’s Ingenix scheme also led to class action litigation and class-wide

settlements. For example, UnitedHealth paid $350 million to settle a class action. As part of its

settlement agreement, UnitedHealth agreed to use the FAIR Health database for a five-year period

of time. Once that limited period lapsed, however, it joined the other Defendants in the MultiPlan

scheme.

       87.        FAIR Health was created as part of an effort to provide transparency regarding

health insurance to both consumers and practitioners. It collects healthcare claim records from

health insurers around the country—more than 2 billion claims in total—that it includes in its

database. FAIR Health makes the results of its efforts available to consumers, researchers,

businesses, and more.

       88.        Before MultiPlan and its analytical tools came on the scene, FAIR Health was

widely used throughout the commercial health insurance industry for pricing out-of-network

reimbursements. But commercial payors—including UnitedHealthcare, Cigna, and Aetna—were

only required to use FAIR Health for five years under their agreements with the New York

Attorney General’s office. When these terms expired in 2014, MultiPlan pounced.

             G.       MultiPlan Acquired, Developed, and Disseminated Tools to Carry Out the
                      Conspiracy.

       89.        Around 2006, MultiPlan embarked on a new effort to evolve into “MultiPlan 2.0,”


                                                  22
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page23
                                                             24ofof86
                                                                    87PageID
                                                                       PageID#:23
                                                                              #:327




which aimed to acquire companies with analytic tools that are purportedly designed to reprice

out-of-network claims submitted by healthcare providers. In actuality, these tools are designed to

go beyond repricing to calculate a reimbursement amount for out-of-network services that is both

far less than what the insurance company would otherwise pay and far less than the healthcare

provider’s claim for reimbursement.

       90.     MultiPlan 2.0 was effective to say the least. MultiPlan touted its success in

aggregating “an incomparable database of claims, charge, and provider credentials.” MultiPlan

credits its “highly disciplined management team” for its “proven track record of successfully

integrating acquired businesses both operationally and culturally.”

       91.     This new and improved MultiPlan 2.0 was a result of the acquisitions of

numerous businesses and their analytical tools. For example, in 2011, it acquired National Care

Network (“NCN”) to form the basis of MultiPlan’s analytics business by way of its iSight

repricing tool. Then, in 2014, MultiPlan “acquired Medical Audit & Review Solutions . . . to

enter the payment integrity market.”

       92.     Earlier, in 2009, MultiPlan acquired Viant from Welsh, Caron, Anderson &

Stower. United States antitrust regulators expressed concerns regarding this acquisition, which

led the Department of Justice’s Antitrust Division to open an investigation and issue a “second

request” for several categories of detailed information concerning the transaction.

       93.     The efficacy of MultiPlan’s tools is driven by the deep technological connections

between MultiPlan and its competitors, including the Non-MultiPlan Defendants. Under their

agreements with Multiplan, the Non-MultiPlan Defendants and other competitors send their claims

to MultiPlan by way of an electronic data interchange. The claims MultiPlan receives include

detailed information such as the procedure code, dates of service, the billed amount, and an



                                                23
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page24
                                                             25ofof86
                                                                    87PageID
                                                                       PageID#:24
                                                                              #:328




alphanumeric code indicating whether the claim is subject to an insurance network’s previously

disclosed reasonable and customary out-of-network rates.

       94.     The electronic data interchange stores these claims in MultiPlan’s “Claims

Savings Engine,” known internally as FRED. Pursuant to the contracts between MultiPlan and

the Non- MultiPlan Defendants, FRED reroutes the claim to one of MultiPlan’s several

proprietary algorithms, including Data iSight, Viant, Pro Pricer, and MARS. These algorithms

apply the agreed-on claims suppression methodology to each claim to determine how little

MultiPlan, the Non-MultiPlan Defendants, and other insurance competitors can offer a

healthcare provider for the good or service in question and still have that offer accepted.

       95.     The exact methodology behind MultiPlan’s claims suppression tools is non-public

and proprietary. MultiPlan maintains internal white papers that describe the relevant pricing

processes that its tools use for out-of-network claims. Apart from this currently unobtainable

information, MultiPlan’s United States patent (U.S. Patent No. 8,103,522) filed by its subsidiary,

National Care Network, LLC, sheds light on some of its repricing mechanisms.

       96.     However, a United States patent (U.S. Patent No. 8,103,522) filed by MultiPlan’s

subsidiary National Care Network, LLC, explains that when MultiPlan receives an out-of-network

claim, it groups that claim into a refined diagnosis related group (“rDRG”), a standardized method

of grouping insurance claims used by Medicare and some commercial health insurance networks

that categorizes medical services on the basis of severity and complexity. Then, MultiPlan

identifies all claims at similar hospitals for the same rDRG code. Next, MultiPlan attempts to

estimate the hospital’s cost of providing that rDRG-coded service based on that group of hospitals’

cost report submissions to the U.S. Centers for Medicare and Medicaid and the wage index of the

hospital submitting the out-of-network claim. Next, MultiPlan calculates the markup and margin



                                                 24
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page25
                                                             26ofof86
                                                                    87PageID
                                                                       PageID#:25
                                                                              #:329




for each submitted rDRG-coded out-of-network claim using the following equation: ((Average

Charge) - (Average Cost) / (Average Cost)) x 100.

          97.   To illustrate how MultiPlan’s repricing tools work, consider this simplified

example: A person insured through one of MultiPlan’s competitors receives emergency services

from ECMC. If ECMC does not have a pre-existing contract with the insurer that governs the

cost of these emergency services, under state insurance regulations, the insurer is still required to

pay for the services rendered. Knowing this, and under its legal obligations, ECMC treats the

patient, then submits a claim to the patient’s insurer detailing ECMC’s charges. But, instead of

simply paying ECMC’s claim itself, the insurer turns the claim over to MultiPlan. MultiPlan then

runs the claim through its analytic tools to “reprice” the claim pursuant to the agreement between

MultiPlan and the insurer. After its tools have run their course, MultiPlan contacts ECMC

directly with the repriced claim, offering a take-it-or-leave-it partial payment for ECMC’s

original claim. If ECMC does not accept MultiPlan’s repriced amount, the best it can hope to

recover from negotiations with MultiPlan is still a substantial underpayment of its submitted

claims.

          98.   This same scenario plays out in a non-emergency context. An individual may

decide to receive care from an ECMC-employed health care provider for another reason—e.g.,

her appointments are available sooner or she has a certain specialization the individual needs—

even though that healthcare provider is out-of-network. Because this is a non-emergency setting, ECMC

has no legal obligation to treat that patient. Nevertheless, ECMC may decide to provide treatment based

on the understanding that the patient has health insurance and that ECMC will recoup at least some costs of

treatment from the insurer on an out-of-network basis. ECMC then provides the treatment and bills the

insurance company. And once again, rather than paying after receiving the claim, the insurance company

sends the claim to MultiPlan. MultiPlan then reprices the claim using its agreed-upon formula. And just as


                                                    25
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page26
                                                             27ofof86
                                                                    87PageID
                                                                       PageID#:26
                                                                              #:330



in the emergency scenario, MultiPlan itself presents the all-or-nothing repriced offer to ECMC on the

insurer’s behalf.

        99.         MultiPlan’s executive officers explained how their repricing tools work and what

makes them “unique” in an August 2020 presentation to investment analysts. First, MultiPlan

“ingest[s] data from [its] customers” by “integrat[ing] its systems “quickly and easily” with their

customers systems. “[T]his data is in the form of a claim.” MultiPlan then “store[s] and move[s]

this claim across our platform to our various products, algorithms and intelligence engine” “to

develop solutions” to its customers’ problems, such as “out-of-network claims” that were “the

biggest pain point for our customers.” MultiPlan does all of this in “real-time.” As a result,

MultiPlan is “deeply embedded in their [customers’] claims adjudication process.” This “deep

integration into” their customers systems gives MultiPlan “far better data sets” than their

competitors.

        100.        When asked whether MultiPlan “own[s] full rights to 12 petabytes of data you

capture,” Paul Galant, the Operating Partner of Churchill Capital Corp III, which became

MultiPlan Corporation, could not give an unequivocal, “yes.” Instead, he said that “the dataset that

comes into us . . . is owned by us for the purpose of generating those savings.” In fact, he

characterized MultiPlan as merely “stewards of” their clients’ data, making clear that its customers

still retain ownership interest in their data and merely transfer it for use—along with their competitors’

data—in MultiPlan’s repricing tools.

        101.        Galant further noted that MultiPlan minimizes “the risk . . . of [its] clients

internalizing [its] solution set” by combining all its customers’ private, real-time data into its

repricing tools. He explained:

                      we see data across 700 payers. That data is much, much larger and more
                      diverse than what any single payer has within their system       And
                      so that is a massively important point of differentiation. We build our


                                                      26
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page27
                                                             28ofof86
                                                                    87PageID
                                                                       PageID#:27
                                                                              #:331




                  algorithms on a much larger data lake. And because we do that, we
                  believe our products generate bigger savings, whether it’s payment
                  integrity or analytics.

       102.    Thus, MultiPlan acknowledges that its repricing tools rely on the real-time,

proprietary claims data from all its customers to reprice out-of-network claims. In other words,

when repricing a customers’ out-of-network health services claim, MultiPlan does not simply

rely on that customers’ private, real-time, claims data because the customer could replicate that

functionality. Rather, MultiPlan differentiates its claims repricing tools by using a “much larger

and more diverse. . . data lake” than “what any single payer has within their system” or could hope

to learn let alone “digest” on its own, i.e., the proprietary, real-time claims data from all their

customers’ competitors.

       103.    Galant further explained that centralizing claims suppression with MultiPlan makes

sense for all the conspirators because “if a payer decides to do everything on their own,” then

“[t]heir ability to go back to providers, and push for saving is fundamentally different than ours.

We are the third-party independent source. The gold standard, if you will, of that data that we

capture and analyze. And so we can talk to the entire industry, we don’t have to talk to any one

specific payer when we do that. And so just from a political or practical, any way you want to

slice it, we are a much better mechanism by which payers can reduce the cost of healthcare

versus doing it themselves.” Put differently, MultiPlan can more aggressively “push for

savings”—or coerce healthcare providers—because it has data from all a payor’s competitors

and knows that the payor’s proposed reimbursement rate aligns with its competitors’ due to the

conspiracy. This knowledge makes MultiPlan a much more effective “mafia enforcer for

insurers,” and its coconspirators know it.

       104.    Multiplan benefits from its claims repricing tools by charging its horizontal



                                                  27
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page28
                                                             29ofof86
                                                                    87PageID
                                                                       PageID#:28
                                                                              #:332




competitors a fee for using its services. This fee is based on the difference between a healthcare

provider’s original claim and the amount the provider accepts following MultiPlan’s repricing of

the claim. It is usually equal to 5–7% of the “savings,” but has been as high as 9.75%. This fee

scheme incentivizes MultiPlan to recommend the lowest reimbursement price possible: doing so

increases the fee MultiPlan charges to the competing insurers. The less money an insurer

ultimately pays to healthcare providers, the more money MultiPlan makes.

       105.        And just as MultiPlan benefits from this conspiracy, so do the Non-MultiPlan

Defendants. By agreeing to suspend competition with respect to the reimbursement of out-of-

network claims, MultiPlan and the Non-MultiPlan Defendants are able to artificially underpay

those claims, inflating the profits of their PPO insurance businesses.

       106.        MultiPlan’s reach is extensive—it touts that it “extends to more than 100,000

health plans covering more than 60 million people.” The agreement between Defendants to fix

prices leave healthcare providers no alternative but to accept the curbed MultiPlan repricing

offers. Because Defendants have agreed not to compete with one another, the only question in

these negotiations is how much the healthcare provider will be harmed by Defendants.

              H.        The Conspiracy’s Existence, Agreement, and Coordination.

       107.        Despite effectively carrying out its “MultiPlan 2.0” efforts to acquire analytical

tools aimed at decreasing its payments for out-of-network healthcare services, MultiPlan had more

work to do. It knew that if it was the only insurance company using these tools, many out-of-

network healthcare providers would stop treating MultiPlan’s patients, and Multiplan’s efforts

would have been made in vain.

                   a.    Direct Evidence of Agreement

       108.        There is direct evidence that Defendants have agreed to curb out-of-network



                                                    28
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page29
                                                             30ofof86
                                                                    87PageID
                                                                       PageID#:29
                                                                              #:333




reimbursement payments, including (1) express contracts between MultiPlan and the Non-

MultiPlan Defendants setting forth the collusive conduct at issue; (2) Defendants’ public

statements and communications admitting to the existence of these contracts and their knowledge

of each non-MultiPlan Defendant’s participation in the same scheme; (3) internal communications

between Defendants that were revealed in other litigation; and (4) MultiPlan’s U.S. patent that

explicitly references Defendants’ intention to utilize a methodology to suppress out-of-network

reimbursements to healthcare providers.

                         1.      Contracts with Payors

       109.    MultiPlan has contracts with nearly every healthcare payor in the United States—

over 700 payors in total. Almost all of those contracts include agreements to use one of

MultiPlan’s repricing tools to curb payments on out-of-network healthcare claims and to split the

revenue generated by this underpayment between MultiPlan and the healthcare payor. Despite

the contracting entities’ efforts to keep these agreements confidential, many facts surrounding

them are publicly known.

       110.    Commercial insurance payors admit they have agreements with MultiPlan to

reprice out-of-network claims. For example, UnitedHealth states that healthcare providers may

be offered a “rate recommended by Viant, an independent third-party vendor that collect and

maintains a database of health insurance claims for facilities, then applies proprietary logic to

arrive at a recommended rate.”

       111.    Upon information and belief, MultiPlan has entered into additional contracts with

many competing commercial health insurance companies that require MultiPlan’s competitors to

use its out-of-network claims suppression technology.




                                                 29
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page30
                                                             31ofof86
                                                                    87PageID
                                                                       PageID#:30
                                                                              #:334




                         2.      Public Statements and Communications

       112.    In communications with healthcare providers and the public, Defendants have

admitted to the existence of their agreements to suppress out-of-network reimbursement claims.

       113.    Numerous healthcare providers promote that they have “contracted with”

MultiPlan’s PPO network.

       114.    More healthcare providers have gone so far as to file claims against MultiPlan-

related entities. For example, Jeffrey Farkas, M.D., LLC submitted a claim for $332,300 to

Great-West Healthcare d/b/a Cigna Corp. for out-of-network services performed on February 17,

2016. Farkas received a response via fax not from Cigna but from Multiplan, which revealed that

“Great-West Healthcare, now part of CIGNA, has contracted with MultiPlan to facilitate

resolution of the above referenced services due to the Provider being out-of-network for this

claim. This agreement may expedite payment and decrease the Patient’s responsibility.”

MultiPlan offered Farkas only $12,407 as reimbursement for the out-of-network services

performed—a difference of $319,893 from Farkas’ claim. Multiplan continued: “By signing this

agreement, Provider accepts this Proposed Amount and agrees to reduce the liability of the

Patient and Payor. Provider agrees not to bill the Patient, or financially responsible party, for the

difference between the Billed Charges and the Proposed Amount.” MultiPlan imposed a two-day

deadline for Farkas to decide whether to accept its offer.

                         3.      Communications Among Defendants

       115.    MultiPlan’s communications with the Non-MultiPlan Defendants are further

direct evidence of the existing agreement.

       116.    Defendants have also created new “industry partnerships” that give them

additional opportunities to privately discuss increasing the conspiracy’s ruthless efficiency. For



                                                 30
    Case:
      Case:
          1:24-cv-06795
            1:24-cv-06776
                        Document
                          Document
                                 #: #:
                                    59-1
                                       1 Filed:
                                          Filed:08/01/24
                                                 08/28/24Page
                                                          Page31
                                                               32ofof86
                                                                      87PageID
                                                                         PageID#:31
                                                                                #:335




instance, in a 2020 presentation, MultiPlan’s Chief Information Officer, Michael Kim, touted the

founding of the Synaptic Blockchain Alliance4 alongside United Optum, Humana, and Aetna. He

explained that leveraging blockchain technology would “significantly reduce our provider data

management costs” and “improve the quality of our data.” The Alliance’s website further

explains that the organization is “a provider data exchange—a cooperatively owned,

synchronized distributed ledger to collect and share changes to provider data,” which “is now a

shared resource of more than two million records collectively managed by payers, providers, and

data suppliers.”

                          4.     Patent

        117.   MultiPlan obtained a U.S. patent that describes its repricing methodology. It

explains that Defendants are explicitly agreeing on the methodology that will be used to calculate

and diminish out-of-network reimbursement payments. The patent shows MultiPlan agrees with

its customers, the Non-MultiPlan Defendants (i.e., competing healthcare payors) on the

methodology or calculation that MultiPlan’s repricing tool will use to curb reimbursement

payments to healthcare providers.

                   b.   Circumstantial Evidence of Agreement

        118.   Although Plaintiffs’ citations of extensive direct evidence of the conspiracy obviate

the need to show any circumstantial evidence, there is plenty of circumstantial evidence to further

support the existence of the cartel.

                          1.     Parallel Conduct

        119.   Defendants engaged in parallel conduct in numerous ways by collectively agreeing



4
 Based on its homepage, it appears that the organization refers to itself as the Synaptic Health
Alliance and considers only MultiPlan, Humana, and UnitedHealth Group as founders. Homepage,
Synaptic Health Alliance (Mar. 28, 2024, 4:28 PM), https://www.synaptichealthalliance.com/.

                                                31
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page32
                                                             33ofof86
                                                                    87PageID
                                                                       PageID#:32
                                                                              #:336




to diminish the amount they would pay to healthcare providers for out-of-network claims and, in

a continuous, parallel manner, sent repricing notices and curbed payments to healthcare providers

pursuant to their agreements.

       120.   Defendants carried out a parallel shift from the traditional out-of-network

reimbursement process to the new MultiPlan model. In the former, commercial insurance providers

competed with one another to offer out-of-network healthcare providers usual, customary, and

reasonable (“UCR”) reimbursement payments. But part of Defendants’ parallel shift is aimed at

moving away from this traditional model toward generating increased revenue by means of

agreements with employer subscriber groups.

       121.   These subscriber group agreements are made in administrative services only

(“ASO”) insurance plans. Under ASO plans, the employer carries the risk of loss in the instance a

claim exceeds the premiums. The premiums are paid to the employer and the employer is on the

hook for paying its employees’ claims. As part of this plan, the employer pays a monthly

administrative services fee to an insurance company—a per member, per month (“PMPM”) fee—

to administer the ASO plan. The insurance company then enters into “shared savings agreements”

that permit it to send out-of-network claims for ASO employers to MultiPlan for repricing. Large

employers, which make up a substantial portion of the commercial insurance market, are almost

all part of ASO insurance plans.

       122.   Defendants each added new terms to their ASO contracts in order to ensure they

would profit from out-of-network reimbursement diminishment in these scenarios. Now, in

addition to the PMPM fees, these ASO plans require self-insured groups to pay a percentage (as

high as 35%) on the difference between a billed out-of-network charge and the amount paid on

that out-of-network claim, known as the “shared savings fee” or “processing fee.” In more



                                               32
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page33
                                                             34ofof86
                                                                    87PageID
                                                                       PageID#:33
                                                                              #:337




egregious examples of claim suppression, this shared savings fee is higher than the amount paid

to the provider for performing the services.

       123.    For example, the self-funded insurance plan for San Francisco employees explains

it uses UnitedHealth’s shared savings program: “Provides discounts to service rates for certain out-

of-network health care providers that are not part of UHC’s primary PPO network. In return,

SFHSS keeps 70% of savings generated, remaining 30% is paid to UHC as program fee.”

       124.    These shared savings agreements generate tremendous profits for insurance

companies and self-funding employers at the expense of medical providers. UnitedHealthcare

made approximately $1.3 billion from its shared savings agreements to suppress out-of-network

claims in 2020. Moreover, in an internal presentation, UnitedHealth stated it intended to cut its

out-of-network reimbursements by $3 billion by 2023.

       125.    So, when employers decide to use ASO plans, they must enter into multiple explicit

agreements with both health insurers and MultiPlan that cause the suppression out-of-network

reimbursement payments to healthcare providers. MultiPlan and its insurance company co-

conspirators then split these ill-gotten profits amongst themselves.

       126.    MultiPlan organized this parallel shift. Its sales executives repeatedly tout the

ability of their repricing tools to create savings by underpaying out-of-network claims. And it

promotes savings of 61%–81% off billed charges.

       127.    MultiPlan advertises to competing health insurance providers that Data iSight

achieves “optimal reimbursement”—i.e., the lower-possible payments to healthcare providers—

when “compared to Usual and Customary and Medicare-Based pricing.”

       128.    Through MultiPlan’s coordination efforts, nearly all major insurance companies

have implemented “shared savings” strategies, and nearly all major insurance companies use



                                                 33
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page34
                                                             35ofof86
                                                                    87PageID
                                                                       PageID#:34
                                                                              #:338




MultiPlan’s tools to implement those services.

       129.    The MultiPlan repricing tools also generate parallel repricing offers for every entity

that uses them. With the use of these tools, Defendants can offer parallel reimbursement amounts

for out-of-network services regardless of the location where the service is offered. This makes no

sense absent the existence of a conspiracy. The cost of care is understandably less expensive in

rural America than it is in more urban, densely populated cities. Because of this, legitimate

methods of claims reimbursement account for differences in cost that arise depending on where

the underlying care is administered.

       130.    In a competitive market, competing insurance providers would not agree to use the

same repricing tool to diminish their out-of-network claims. Typically, health insurance providers

would want to increase the likelihood that their insureds would receive treatment from out-of-

network healthcare providers by paying reasonable reimbursement rates for their services. And—

absent a conspiracy such as the one that exists here—these insurers would not make their decisions

to underpay claims automatically but would instead take time to consider the specific

circumstances underlying each claim.

       131.    When competitors implement the same reimbursement suppressing tools, as they

have here, they are able to collectively maximize profits while shielding themselves from the cost

of disputes. They are no longer kept in line by the worry that their insureds will not be accepted

for optional out-of-network care and can instead blindly and automatically accept lowered claims

reimbursement suggestions. The only market players who lose are the providers who are forced

into accepting the diminished take-it-or-leave it reimbursement offers.

                        2.      Plus Factors

       132.    The Multiplan conspiracy is characterized by at least the following “plus factors”:



                                                 34
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page35
                                                             36ofof86
                                                                    87PageID
                                                                       PageID#:35
                                                                              #:339




(1) the high market concentration of conspiracy members; (2) high barriers to entry; (3) ample

motive to participate in the conspiracy; (4) a history of prior collusion; (5) numerous opportunities

to collude, including those directly facilitated by MultiPlan; (6) actions against self-interest that

only make sense as part of a common plan; (7) evidence of conspiracy enforcement mechanisms;

(8) pervasive and systematic information exchange between the conspiracy members and

MultiPlan; and (9) the existence of customary patterns and courses of dealing that can only be

explained by the existence of a conspiracy agreement. Assessed holistically, see Continental Ore.

Co. v. Union Carbide & Carbon Corp., 370 U.S. 690, 698–99 (1962), these “plus factors”

demonstrate evidence of an unlawful horizontal price-fixing agreement.

       133.    High Collective Market Concentration. The relevant product market for

Plaintiffs’ claims is the market for reimbursements paid by commercial insurers to healthcare

providers for out-of-network medical services. Within the relevant market, there are submarkets

for reimbursements paid by each commercial insurer (or payor) for the out-of-network medical

services provided to patients enrolled in that insurer’s health insurance plan. In this market,

healthcare providers like Plaintiffs function as sellers of out-of-network services and commercial

insurers like MultiPlan function as buyers of those services.

       134.    Healthcare providers have no reasonable substitutes for the reimbursements

provided by commercial insurers for out-of-network medical services. Under various federal and

state laws, it is illegal for healthcare providers to seek reimbursements from insureds for most out-

of-network claims. Defendants—who dominate the market—force healthcare providers to forego

any reimbursement from insureds as a condition of receiving any compensation at all, no matter

how meager, for out-of-network claims.

       135.    Government sources offer reimbursement payments to healthcare providers, but



                                                  35
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page36
                                                             37ofof86
                                                                    87PageID
                                                                       PageID#:36
                                                                              #:340




none of these sources—including Medicare, Medicaid, and Tricare—compete with commercial

health insurance. These government sources service populations that are not typically served by

commercial health insurance. For example, both Medicare and Medicaid have statutory age,

income, and disability requirements, and Tricare is only available to current and former members

of the United States military.

       136.    For purposes of Plaintiffs’ claims, the relevant geographic market is the United

States. Medical providers in the United States cannot practicably turn to payors in other countries,

where private medical insurance is either uncommon or non-existent. The United States healthcare

industry, including the market for reimbursement of out-of-network services, is universally

recognized by industry participants as distinct from healthcare industries in foreign countries.

       137.    Defendants, through their conspiratorial contracts, collectively hold dominant

power in the relevant market. Nearly every commercial insurer that participates in the relevant

market has agreed with MultiPlan to curb out-of-network reimbursement payments. The members

of the MultiPlan conspiracy collectively control at least 90% of the relevant market.

       138.    MultiPlan faces only limited competition in the out-of-network claims repricing

business. MultiPlan claims Data iSight differentiates itself through its patented repricing

methodology and its large, proprietary database of historical claims, whereas other claims repricing

services base their methodologies on usual and customary rates or Medicare rates.

       139.    MultiPlan’s main competitor, Zelis, along with other claims repricing services, are

small-time players compared to MultiPlan. In 2022, Zelis processed approximately 2 million

claims for repricing. According to a June 28, 2023 presentation, in 2022, MultiPlan processed 546

million claims, accounting for $155 billion in claims.

       140.    Defendants’ high market concentration is circumstantial evidence of agreements to



                                                 36
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page37
                                                             38ofof86
                                                                    87PageID
                                                                       PageID#:37
                                                                              #:341




conspire. This power has allowed the MultiPlan conspiracy to flourish and impose anticompetitive

effects on the entire relevant market.

          141.   And healthcare providers have no choice when seeking payment for out-of-network

services they provided to a patient. Oftentimes, their only option for reimbursement is submitting

a claim to the patient’s particular insurance company. If that insurance company is a member of

the MultiPlan conspiracy, the healthcare provider has no choice but to seek reimbursement from a

MultiPlan repriced claim.

          142.   Barriers to Entry in the United States Commercial Reimbursement Market.

Entering the U.S. Commercial Reimbursement Market is hindered by high barriers. New entrants

must be able to bear the extreme expenditures of time and money required to develop a network

of healthcare providers large enough to compete as a commercial healthcare insurer. Even

without developing an insurance network, there are significant capital outlays required to operate

as a commercial healthcare payor. Entrants then face the challenge of contending with the

economics of scale that large incumbent insurers possess. Obtaining name recognition in an

industry occupied by longstanding and well-recognized major players presents an additional

hurdle.

          143.   There is also an actuarial risk for new health insurance networks. If they cannot

balance claims paid and revenue generated through premiums or network access fees (such as

ASO fees), their capital reserves can quickly deplete.

          144.   Even if a new entrant to the market experiences initial success, it may not be able

to survive long enough to see a return and develop a base of business to allow it to effectively

maintain its insureds.

          145.   These barriers to entry further cement the dominance of the MultiPlan conspiracy



                                                  37
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page38
                                                             39ofof86
                                                                    87PageID
                                                                       PageID#:38
                                                                              #:342




members by ensuring any entity that tries to enter the market but rejects MultiPlan’s price-fixing

scheme cannot undermine the conspiracy members’ ability to impose repriced reimbursement rates

on healthcare providers for out-of-network services.

       146.    The repricing services themselves also present a high barrier to entry. To develop a

third-party repricing service, a new entrant would need to spend copious amounts of money to

develop source code and algorithms that effectively reprice out-of-network claims without

infringing MultiPlan’s patents, develop contractual relationships with the hundreds of commercial

insurance networks, and commit significant resources to consistently improving its repricing

algorithms and software. As a result, it is unlikely that any company could effectively disrupt

MultiPlan’s repricing scheme.

       147.    These numerous high barriers effectively prevent new entrants from interrupting

MultiPlan’s position of control. Therefore, these barriers to entry circumstantially support a

conspiracy’s existence.

       148.    Motive to Conspire. Defendants have a pressing financial motive to suppress

reimbursement payments for out-of-network service. MultiPlan is paid a percentage of the

underpayment to healthcare providers—it only makes money if the conspiracy members are

successful in suppressing out-of-network reimbursement payments; the more the conspiracy curbs

reimbursements, the more MultiPlan is paid.

       149.    Likewise, the Non-MultiPlan Defendants are incentivized to suppress payments to

healthcare providers to increase their own profits. Just as MultiPlan charges insurance companies

a percentage of the difference between the provider’s billed amount and the amount actually paid,

insurance companies charge their customers, often employers who provide coverage to employees

through self-funded plans administered by the insurance company, a percentage of that same



                                                38
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page39
                                                             40ofof86
                                                                    87PageID
                                                                       PageID#:39
                                                                              #:343




difference as a “shared savings fee” or “processing fee.”

       150.    As explained above, these processing fees can result in big revenue for insurance

companies and massive expenses for their customers. For instance, a union health plan for about

1,500 Arizona electricians paid $2.6 million in fees to Cigna in 2019. Cigna charged Arlington

Count, Virginia, $261,000 in such fees one year.

       151.    UnitedHealthcare executives testified that the fees generate about $1 billion

annually for the company, which it generates by exploiting its customers, such as New Jersey-

based trucking company New England Motor Freight, who it charged $50,650 as a processing fee

for one hospital bill. Moreover, when New England Motor Freight questioned the fee,

UnitedHealthcare executive William T. Raha pushed back against the idea of providing a partial

refund because of “concern[] about setting precedent” on an issue—charging exorbitant processing

fees on gross underpayments of out-of-network healthcare reimbursement claims—that “cuts

across not only all of Key Accounts, but National Accounts as well” and the company’s

“unwilling[ness] to enter into one-off agreements that cap our revenue.” Given the revenue

generated by these fees, UnitedHealthcare has unsurprisingly encouraged employers to cease using

FAIR Health (which charges a flat fee) to determine reimbursement rates and instead use

MultiPlan’s claim repricing tools.

       152.    The following illustration shows how MultiPlan’s payor-customers’ “incentives are

completely aligned” with its own, as MultiPlan itself stated in a presentation to investors: If a

doctor bills $1,000 for services but accepts the $500 payment advised by MultiPlan, then a $500

difference exists between the billed amount and the amount actually paid. MultiPlan charges the

insurance company a fee for forcing this reduced payment on the provider, generally between 5-

7%, or $25-35. Meanwhile, the insurance company charges its customer a processing fee, generally



                                                 39
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page40
                                                             41ofof86
                                                                    87PageID
                                                                       PageID#:40
                                                                              #:344




between 30-35%, or $150-175, for obtaining these “savings.” If Defendants can suppress

reimbursements even further, then MultiPlan and the insurance companies reap even bigger

rewards. If the doctor accepts $200 on the $1,000 bill based on the rate advised by MultiPlan, then

MultiPlan and the insurance company take a cut of the $800 difference between the billed amount

and amount paid. This results in fees for MultiPlan ranging from $40-56 and $240-280 for the

insurance companies.

       153.    Thus, MultiPlan and the Non-MultiPlan Defendants’ motives are aligned because

the less they pay to healthcare providers, the more revenue and profits they get to keep for

themselves and split pursuant to their anticompetitive agreements.

       154.    Indeed, sometimes Defendants suppress payments to healthcare providers so much

that the fees that MultiPlan and the Non-MultiPlan Defendants charge for these “savings” exceed

the amount the provider receives for providing medical care. For instance, when a facility

providing outpatient substance abuse treatment received $134.13 on a claim, Cigna, the payor,

received $658.75—almost five times as much—as a processing fee. MultiPlan received $167.48—

more than the provider—for its role in suppressing the claim. Court records shows this pattern

repeats itself frequently. Ultimately, therefore, while Cigna received $4.47 million in processing

fees from employers related to addiction treatment claims in California, the providers received

only $2.56 million. MultiPlan received $1.22 million for its role in repricing those claims.

       155.    The Non-MultiPlan Defendants also have a motive to conspire with MultiPlan to

avoid the legal issues like those created by their use of Ingenix. For instance, in an internal email,

Cigna Chief Risk Officer Eva Borden explained that Cigna “cannot develop these charges

internally (think of when Ingenix was sued for creating out-of-network reimbursements).” Instead,

it “need[ed] someone (external to Cigna) to develop acceptable” reimbursement rates. MultiPlan



                                                  40
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page41
                                                             42ofof86
                                                                    87PageID
                                                                       PageID#:41
                                                                              #:345




filled this need.

          156.   MultiPlan implies its repricing tools create an entirely legal scheme by offering to

enter into formal contracts for those services, regardless of the truth that conspiracy agreements of

this kind are disincentivized by U.S. law.

          157.   Prior Collusion. It is easier for competitors in the same market to conspire if they

have conspired before. Defendants know one another and know they can trust each other to keep

their conspiracy secret.

          158.   Because commercial health insurance networks cannot collectively control out-of-

network reimbursement rates through legally enforceable contracts (which is the way they

traditionally controlled in-network reimbursement rates), they have attempted to enter illegal

agreements to curb out-of-network reimbursements on multiple occasions.

          159.   As detailed supra, the New York Attorney General’s investigation of

UnitedHealth’s subsidiary, Ingenix, revealed a conspiratorial scheme in which competing health

insurance providers were sending detailed information on their out-of-network claims to Ingenix

to be included in a database that was used to calculate reimbursement rates.

          160.   UnitedHealth and its co-conspirators, including Aetna and WellPoint, agreed to

cease utilizing Ingenix and paid large sums toward the creation of the unbiased database, FAIR

Health.

          161.   Opportunities to Collude. Defendants had, and continue to have, ample

opportunities to conspire, including through MultiPlan’s facilitation of private communications

among competing insurance networks.

          162.   MultiPlan’s road shows provided numerous opportunities for Defendants to

conspire. For instance, in 2019, major health insurance executives, including those from the Non-



                                                  41
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page42
                                                             43ofof86
                                                                    87PageID
                                                                       PageID#:42
                                                                              #:346




MultiPlan Defendants, met in Laguna Beach, California. At this gathering, MultiPlan executive

Dale White professed that “MultiPlan is Magic” and discussed “a few things up [its] sleeve” that

might benefit the insurers.

       163.    Defendants also have opportunities to collude by way of their other industry

connections. For example, many Defendants are members of industry associations such as AHIP

(formerly “America’s Health Insurance Plans”). Aetna, Centene, Cigna, Elevance, HCSC,

Humana, and many others are members of AHIP.

       164.    AHIP provides it “plays an important role in bringing together member companies

and facilitating dialogues to advocate on shared interests.”

       165.    Numerous of Defendants’ executives hold positions on AHIP’s Board of Directors,

including Gail K. Boudreaux, President and CEO of Elevance; David Cordani, Chairman and CEO

of Cigna; and Maurice Smith, President, CEO, and Vice Chair of HCSC.

       166.    AHIP hosts conferences, committee meetings, and board meetings multiple times a

year where its members participate in closed-door meetings.

       167.    A federal court in California found that entities’ overlapping membership in AHIP

and participation in AHIP events presented sufficient opportunities to conspire so as to demonstrate

a per se horizontal price-fixing agreement.

       168.    MultiPlan and industry groups such as AHIP both offer ample opportunities for

Defendants to collude regarding the MultiPlan conspiracy.

       169.    Defendants’ Acts Against Self-Interest. Members of the MultiPlan conspiracy

have engaged in numerous actions made against their own self-interest.

       170.    The agreements between MultiPlan and the Non-MultiPlan Defendants are

themselves against the members’ self-interest. If a single insurance provider chose to enter into an



                                                 42
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page43
                                                             44ofof86
                                                                    87PageID
                                                                       PageID#:43
                                                                              #:347




agreement with MultiPlan and shift away from the traditional UCR methodology to drastically

underpay out-of-network claims, healthcare providers would en masse refuse to treat patients

subscribing to that provider when possible—i.e., in non-emergency situations. It follows that the

health insurance provider would then experience serious diminishment in the value and breadth of

their insurance offerings and a quick diminishment in numbers of subscribers. More, it would be

less likely to bring healthcare providers in-network, further reducing its network’s value and

potential earnings.

       171.    Notably, due to the artificial suppression of out-of-network healthcare

reimbursement rates caused by MultiPlan’s repricing tools, some healthcare providers have already

stopped treating patients with certain healthcare plans. For instance, a rural Virginia provider of

behavioral therapy for children with autism now refuses to accept patients with insurance like

Aetna because its reliance on MultiPlan’s repricing tools resulted in her receiving less than half

the Medicaid reimbursement rate for her services. She explained that the artificial suppression of

reimbursement rates for out-of-network healthcare services “puts [her] in a tough position” where

she must decide whether “to pay [her]self a salary or be able to help people.”

       172.    The single contracting insurance provider would also likely be forced to undergo

lengthy and expensive repricing negotiations after facing pushback from providers. But when

numerous providers enter a conspiracy to reprice claims, it becomes less effective for healthcare

providers to negotiate due to the volume of repriced offers.

       173.    Defendants have also refrained from engaging in any self-interested behavior that

may have risked destabilization of the conspiracy.

       174.    For example, Defendants and other competitor clients of MultiPlan have abandoned

any efforts to keep repricing activities in-house, despite the savings such efforts would result in.



                                                 43
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page44
                                                             45ofof86
                                                                    87PageID
                                                                       PageID#:44
                                                                              #:348




In at least one case, a Defendant has done this despite spending considerable sums developing an

alternative claims repricing product.

        175.      UnitedHealth is the nation’s largest commercial health insurance provider and,

as such, could easily analyze its own historical claims database to ascertain the most efficient

pricing for out-of-network reimbursements. Bringing its repricing decisions in-house would

eliminate MultiPlan as an intermediary, saving UnitedHealth as much as 9.75% on each repriced

out-of-network claim, resulting in a savings of hundreds of millions of dollars per year.

        176.    In 2021, UnitedHealth created Naviguard, intended to act as an in-house

replacement for MultiPlan. With this creation, UnitedHealthcare created a “roadmap” to terminate

its contract with MultiPlan in 2023. But the plan was abandoned and MultiPlan decided to renew

its contract with MultiPlan in January 2023 instead.

        177.    This decision makes no economic sense from UnitedHealth’s perspective.

UnitedHealth has an economic incentive to compete against other health insurance providers to

ensure that UnitedHealth’s insureds can see out-of-network healthcare providers—thus, it must

pay competitive reimbursement rates as opposed to other insurers. UnitedHealth developed

Naviguard with an eye toward accomplishing this competitive edge. Rather than follow through

with this self-serving plan, UnitedHealth recommitted itself to participating in the MultiPlan

conspiracy by renewing its contract to use MultiPlan’s claims repricing tools.

        178.    UnitedHealth’s development and subsequent abandonment of Naviguard in favor

of continuing its relationship with MultiPlan is a clear demonstration of actions against self-

interest. It is clear that this is circumstantial evidence of a conspiracy.

        179.    Enforcement Mechanisms. Members of the MultiPlan conspiracy have not and

cannot go to court to enforce the agreements they have entered into, as doing so would raise a red



                                                   44
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page45
                                                             46ofof86
                                                                    87PageID
                                                                       PageID#:45
                                                                              #:349




flag to the agreements’ conspiratorial nature. For this reason, MultiPlan conspiracy members are

forced to create informal internal structures to enforce the cartel agreement and deflect attempts to

disrupt its success.

        180.    For example, UnitedHealth’s plan to abandon MultiPlan in favor of Naviguard

would have inevitably destabilized the MultiPlan agreements and may have caused other payors

to reevaluate their participation in the conspiracy.

        181.    MultiPlan stepped in with a sweetheart deal. Upon information and belief, in

2022, MultiPlan and UnitedHealth negotiated a new contract for MultiPlan’s repricing services in

2023. MultiPlan gave UnitedHealth extremely favorable terms to protect the larger conspiracy.

        182.    As a result, MultiPlan experienced a 20.6% drop in revenues between the first

quarter of 2022 and the first quarter of 2023. But MultiPlan was willing to sacrifice short-term

revenues and profits to stabilize the conspiracy and keep its largest members happy and devoted.

        183.    To further sweeten the deal, on June 27, 2023, MultiPlan announced that John

Prince, the recently retired President of Optum—UnitedHealth’s health services subsidiary—

would join MultiPlan’s board of directors.

        184.    MultiPlan’s willingness to sacrifice short-term profits does not make economic

sense absent its knowledge that perpetuating its conspiracy will have long-term benefits.

        185.    Information Exchange. Defendants and similar commercial insurance

competitors are unlikely to exchange large volumes of competitively sensitive information in the

absence of an agreement ensuring the others would do the same.

        186.    But here, MultiPlan, the Non-MultiPlan Defendants, and other competing health

insurance companies have agreed to exchange data regarding health care providers’ claims,

reimbursement offers made in response to those claims, and the actual amount paid on those



                                                 45
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page46
                                                             47ofof86
                                                                    87PageID
                                                                       PageID#:46
                                                                              #:350




claims.

          187.   Defendants’ information exchange is of the type the courts have recognized as

likely to have anticompetitive effects. See, e.g., United States v. U.S. Gypsum Co., 438 U.S. 441,

n.16 (1978) (“Exchanges of current price information, of course, have the greatest potential for

generating anti-competitive effects). Defendants are exchanging real-time pricing data by way of

transmitting it automatically to MultiPlan through electronic links. This data is specific to

commercial insurance claims. And the data—pricing information updated in real time—is not

publicly available. MultiPlan endorses that its analytics-based services are driven by “[p]roprietary

and public data sources.” Finally, the shared data is granular and unblinded, meaning MultiPlan

knows exactly what its competitors are charging for medical services.

          188.   MultiPlan is using this proprietary, real-time pricing data to explicitly share

confidential pricing information between members of the conspiracy to fix prices. For example,

when seeking to establish UnitedHealth’s out-of-network reimbursement rates, MultiPlan told

UnitedHealth that prices set at 350% of Medicare rates would “be in line with another competitor”

and “leading the pack along with another competitor.”

          189.   Competing companies would not ordinarily risk sharing their real-time,

competitively sensitive pricing information with their rivals. More, they would not simultaneously

pay those rivals—in this case MultiPlan—millions of dollars absent an agreement to restrain

competition. Defendants’ information exchange is more consistent with an agreement to restrain

trade than with competition on the merits. Therefore, this type of information exchange is

circumstantial evidence of a cartel agreement among competitors.

          190.   Pattern and Course of Dealing. MultiPlan has an established history of forming,

maintaining, and stabilizing the conspiracy, notably boasting that it is “deeply embedded into [its



                                                   46
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page47
                                                             48ofof86
                                                                    87PageID
                                                                       PageID#:47
                                                                              #:351




co-conspirators’] claims platforms.”

       191.        MultiPlan emphasizes the long-term nature of its relationships with its claims

repricing clients. In a June 28, 2023, investor presentation, it stated that its “Average Length of

Large Customer Relationships” was over 25 years.

       192.        For over a decade, the leading commercial health insurance providers in the United

States Commercial Reimbursement Market have been bound to multi-year contracts to use

MultiPlan’s claims repricing tools. MultiPlan’s consistent public statements trumpeting this high

level of market participation and promoting upwards of 90% acceptance rates of its reimbursement

offers provide encouragement and reassurance to other members of the conspiracy.

       193.        MultiPlan has effectively taken the lead in recruiting new members to its

conspiracy, espousing the advantages of collusive pricing to them, warning they will suffer a

drastic financial disadvantage if they do not participate in the cartel, and enforcing price discipline

by encouraging members to match their competitors’ repricing standards.

       194.        These customary patterns, formulas, leadership, and other courses of dealing are

circumstantial evidence of agreements and a conspiracy to suppress reimbursement rates.

              I.       Defendants Joined and Participated in the Conspiracy.

       195.        The agreements between the New York Attorney General and the insurance

providers who were using Ingenix to artificially undervalue reimbursements ensured providers

would use an independent database to determine reimbursement rates. But these agreements only

required that insurers use the database “to help determined reimbursement rates for a period of at

least five years.” Thus, when the terms of these agreements expired in 2014, insurers, including

Defendants, immediately undertook efforts to get back to the way things were—that is, using

repricing tools to undervalue reimbursements.



                                                    47
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page48
                                                             49ofof86
                                                                    87PageID
                                                                       PageID#:48
                                                                              #:352




       196.        UnitedHealth joined the MultiPlan conspiracy on July 1, 2017, in an effort to

“bring[] UnitedHealth back into alignment with its primary competitor groups Blues, Cigna, Aetna

on managing out-of-network costs.”

              J.       The Conspiracy Suppressed Out-of-Network Claim Reimbursement

                       Rates.

       197.        The involvement of all the major American health insurance companies was a

large component of the conspiracy’s success. As MultiPlan’s Vice President of Health Care

Economics Sean Crandell testified in 2021 that MultiPlan’s clients include “all of the top 10

insurers in the U.S.” Since then, the conspiracy has expanded.

       198.        In June 2023, MultiPlan told investors that “all of the top 15 insurers” based on

market share used its claim repricing tools to artificially suppress the reimbursement rate for out-

of-network claims. An investor presentation identified those insurers by name, specifically

mentioning United Healthcare, Aetna, Cigna, Humana, HCSC, and Centene.

       199.        In 2022, the top 15 insurers accounted for 63.69% of the health insurance market,

giving the conspiracy members enormous power in the out-of-network reimbursement market and

over healthcare providers.

       200.        MultiPlan brags that, due to this power, healthcare providers accept MultiPlan’s

artificially suppressed out-of-network reimbursement rates 99.4% of the time based on a 2018

study. More recently, MultiPlan has cited acceptance rates of 99% and 98%. MultiPlan specifically

cites these acceptance rates as a “key benefit” of its claim repricing tools when attempting to

entice new customers to join the conspiracy.

       201.        These high acceptance rates do not reflect the validity of MultiPlan’s repricing

methodology. They arise because the price-fixing agreement between Defendants has snuffed out



                                                    48
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page49
                                                             50ofof86
                                                                    87PageID
                                                                       PageID#:49
                                                                              #:353




competition and left providers, such as Plaintiffs, no choice but to accept the artificially suppressed

reimbursement rates.

       202.    Various factors make it impossible for healthcare providers to successfully resist

these artificially suppressed, anticompetitive reimbursement rates. First, due to the conspiracy’s

size and conspirators’ market share, healthcare providers cannot practically turn elsewhere to seek

reimbursement for out-of-network claims. They cannot refuse to do business with the conspiracy’s

members and remain economically viable.

       203.    Second, healthcare providers cannot meaningfully negotiate with MultiPlan or the

Non-MultiPlan Defendants. If a healthcare provider refuses to accept MultiPlan’s initial

reimbursement rate, then MultiPlan attempts to impose an even lower rate on the provider. For

example, in one fax to a doctor, MultiPlan gave the doctor only eight days to respond to its cut-

rate reimbursement offer. It then threatened that, “[i]f you do not wish to sign the attached proposal,

this claim is subject to a payment as low as 110% of Medicare rates based on the guidelines and

limits on the plan for this patient.” Others have reported deadlines of mere hours. Healthcare

practices and their billing specialists say that MultiPlan has followed through on these threats. As

one woman in charge of billing for a healthcare provider put it: “It’s not a real negotiation.” In

other words, in its role as a “mafia enforcer for insurers,” MultiPlan gives providers an “offer”

they cannot refuse—accept the cut-rate reimbursement or watch it cut even further.

       204.    Refusing to accept MultiPlan’s initial reimbursement rate also causes delayed claim

payment, placing additional economic pressure on healthcare providers to accept the initial

reimbursement rate. Moreover, MultiPlan’s employees have refused to answer more than five

questions on calls with providers, even as MultiPlan withholds specific details about how its

repricing tools work. These tactics foreclose real negotiation.



                                                  49
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page50
                                                             51ofof86
                                                                    87PageID
                                                                       PageID#:50
                                                                              #:354




        205.        Healthcare providers also cannot negotiate directly with other non-MultiPlan

payors, including the Non-MultiPlan Defendants. MultiPlan controls the entire out-of-network

claims handling process for these payors—from setting the reimbursement rate and sending it to

the provider to “negotiating” any changes to the rate and satisfying the claim. The non-MultiPlan

payors have outsourced not only pricing decisions, but also claim collection, to MultiPlan. As

explained above, MultiPlan encourages this because it collects real-time, proprietary claims data

from all the Non-MultiPlan Defendants and co-conspirators and knows that their proposed

reimbursed rates align due to the conspiracy, giving it a greater ability to “push for savings.” If a

provider’s billing department asks an insurer, such as the Non-MultiPlan Defendants, to justify its

low-ball reimbursement rate, the insurance company will protest that it has no responsibility for

MultiPlan’s pricing. At the same time, MultiPlan will refuse to negotiate with providers because it

is not the insurer. This charade occasionally, and intentionally, gives providers nobody with whom

to negotiate. In fact, in recent years, some payors have taken advantage of MultiPlan’s offer to

make claims entirely non-negotiable.

        206.        Third, the sheer number of out-of-network claims to process makes it impracticable

for health care providers to negotiate fair reimbursement rates on every out-of-network claim.

MultiPlan advertises that it processes 370,000 claims daily. Attempting to negotiate the

reimbursement rate on all those claims would require substantial investments in time and resources

and prevent Plaintiffs from using those resources to improve the quality of and access to care at

their facilities.

        207.        Defendants exploit this limitation. They know that medical billing departments

handle droves of out-of-network claims and lack time to fight every individual claim. This

emboldens Defendants to impose sub-competitive reimbursement rates on healthcare providers



                                                    50
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page51
                                                             52ofof86
                                                                    87PageID
                                                                       PageID#:51
                                                                              #:355




and give them as few as eight days to accept them.

       208.    Bureaucratic indifference and perverse incentives exacerbate these problems for

providers. As one analyst noted, “MultiPlan’s key strategy for forcing doctors to accept low prices

is by erecting a bureaucratic layer so thick and complicated that few can navigate it. MultiPlan

preys on physicians using subtly forceful [communications], expecting physicians’ medical billing

staff to not have time to fight through layers of bureaucratic tape.” MultiPlan’s former employees

explain that the company fostered a culture that promoted artificially suppressing reimbursement

rates in part by linking employee bonuses to these suppressed rates. Predictably, therefore,

MultiPlan, through its employees, would employ harsh negotiation techniques, such as sending

reimbursement offers to providers accompanied by “all-caps admonitions.” One former negotiator

described herself as “a bit of viper,” who “wanted to go in as hard as I could because my bonus is

affected.” Another negotiator admits that she “knew [the artificially suppressed reimbursement

rates] were not fair” and would call providers from her cellphone to advise against accepting the

artificially suppressed reimbursement.

       209.    Fourth, even in those rare circumstances when MultiPlan has negotiated with a

health insurance payor, the benefits from that negotiation prove fleeting. After the initial

negotiation, MultiPlan seeks to stabilize the percentage gap between the provider’s bill and the

negotiated price the provider accepts. Due to this “stabilization,” the provider can only get the

negotiated price again by charging the same price for services he charged the first time around,

even though the provider and MultiPlan know that negotiations yielded a lower price previously.

For example, one provider noted that he typically received $6,000 to $8,000 for a service but had

to bill $18,000 to $32,000 to get paid that $6,000 to $8,000 amount from MultiPlan and its affiliated

health plans. Building in this inefficiency further discourages negotiations and needlessly raises



                                                 51
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page52
                                                             53ofof86
                                                                    87PageID
                                                                       PageID#:52
                                                                              #:356




healthcare costs.

       210.    The conspiracy has substantially affected the out-of-network reimbursement

market and healthcare providers, such as Plaintiffs. In 2018, MultiPlan told investors that it

identified “savings”—underpayments to healthcare providers—for its 700+ customers that totaled

$15.6 billion. By 2023, that number approached $23 billion.

       211.    MultiPlan candidly explained that underpayments come from reducing the money

healthcare providers receive for services provided. In a 2021 “roadshow” presentation, MultiPlan

compared the payments a doctor would expect to receive with and without MultiPlan involved in

the out-of-network reimbursement process. Without MultiPlan, the doctor would receive $800 for

the service. With MultiPlan, the doctor receives only $600, or 25% less.

       212.    This illustration vastly understates the typical underpayments produced by

MultiPlan’s claim repricing tools, which MultiPlan claims generally fall between “61%-81% off

billed charges.” For example, UnitedHealthcare, using MultiPlan’s services, paid a doctor just

       $5,449.27 for performing a lengthy, complicated procedure to repair tissue and close a

wound on a patient whose incision from heart surgery had failed to heal. This left the patient

with a bill exceeding $100,000.

       213.    In another example, UnitedHealthcare covered only $7,879 of a $152,594 bill, or

just more than 5% of the bill.

       214.    By agreeing to not compete with its competitors on the reimbursement of out-of-

network claims, all Defendants benefit. Both MultiPlan and the Non-MultiPlan Defendants pay

less to healthcare providers by artificially suppressing the reimbursement rate for out-of-network

claims. MultiPlan gets the added benefit of taking a cut of those “savings” from its co-conspirators.

       215.    While health care providers have struggled due to these underpayments—with



                                                 52
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page53
                                                             54ofof86
                                                                    87PageID
                                                                       PageID#:53
                                                                              #:357




some even declaring bankruptcy because of the reduced reimbursement rates—MultiPlan has

profited handsomely. Revenue generated by the claim repricing tool Data iSight increased from

$23 million in 2012 to $323.7 million in 2019. Analytics-based services, like claims repricing

tools, accounted for 59% of MultiPlan’s revenue as of 2020. In 2021, the importance of analytics-

based services to MultiPlan’s bottom line grew, accounting for $709 million of MultiPlan’s $1.1

billion in total revenue. In 2022, analytics-based services accounted for 66% of MultiPlan’s

revenue. During this time, MultiPlan consistently had profit margins “in excess of 70%.”

       216.    Due to the conspiracy’s success in artificially suppressing out-of-network

reimbursements, Defendants now plan to artificially suppress in-network healthcare claims. In a

2020 presentation to investors, MultiPlan shared its “Vision for MultiPlan 3.0,” pursuant to which

MultiPlan would “extend into in-network” repricing services. In other words, it would bring its

claim repricing tools “to the in-network market” as part of a “cost management” strategy.

       217.    MultiPlan projected that implementing MultiPlan 3.0, including by “[f]urther

deploying artificial intelligence/machine learning” and continuing to “[c]ombine proprietary data

with 3rd party data to develop more powerful analytics,” would increase revenue by up to $1.15

billion and profits by $720 million.

       218.    MultiPlan 3.0 involves a three-part “Enhance, Extend, and Expand growth

strategy.” By extending into “key adjacent markets” and using “AI and machine learning to

identify greater savings” MultiPlan will “drive[] more savings for payer customers and support[]

their priorities targeting providers and consumers.” Put bluntly, MultiPlan intends to continue

putting “savings” for their customers ahead of healthcare providers and consumers who it

“target[s],” all while claiming to be “on the right side of healthcare.”




                                                 53
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page54
                                                             55ofof86
                                                                    87PageID
                                                                       PageID#:54
                                                                              #:358




              K.       Defendants Operate a “Hub and Spoke” Conspiracy.

       219.        Defendants’ conduct also can be characterized as a per se illegal hub-and-spoke

price-fixing agreement that violates the Sherman Antitrust Act.

       220.        Under this scenario, MultiPlan is the conspiracy’s hub. The agreements between

MultiPlan, the Non-MultiPlan Defendants, and the co-conspirators are the spokes. The agreement

between the Non-MultiPlan Defendants and co-conspirators to collectively use MultiPlan’s claim

repricing tools to reprice out-of-network reimbursement claims while knowing that each other are

doing the same is the conspiracy’s rim.

       221.        Commercial health insurance providers, including the Non-MultiPlan Defendants,

unsuccessfully attempted to systematically underpay healthcare providers for out-of-network

reimbursement claims before joining this conspiracy. These failures help explain the conspiracy’s

appeal to the Non-MultiPlan Defendants.

       222.        For example, in 2015, UnitedHealthcare paid $11.5 million to resolve a lawsuit that

alleged that it used automated software that improperly adjudicated healthcare claims to

systematically underpay doctors and delay or deny payment to them. That same year, it paid $9

million to settle a claim for underpaying doctors in California. And in 2009, it paid $350 million

to settle a claim based on using its internal database, Ingenix, to generate artificially low

reimbursement rates for out-of-network healthcare services.

       223.        As these successful lawsuits demonstrate, healthcare providers could combat

attempts to underpay them before the conspiracy became effective on July 1, 2017, when

UnitedHealthcare started using MultiPlan. In addition to seeking redress in the courts, they could

refuse to provide non-emergency care to patients from insurance networks that attempted to bilk

them out of fair reimbursement rates and instead provide those non-emergency services



                                                   54
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page55
                                                             56ofof86
                                                                    87PageID
                                                                       PageID#:55
                                                                              #:359




exclusively to the patients belonging to other insurance networks. Commercial health insurance

companies realized, therefore, that they must act collectively to suppress out-of-network

reimbursement rates.

       224.    MultiPlan marketed itself as the answer to the Non-MultiPlan Defendants’

collective action problem. It would act as a hub that the Non-MultiPlan Defendants could use to

work together to suppress payments for out-of-network reimbursement claims.

       225.    MultiPlan’s courtship of UnitedHealthcare is illustrative. When it recruited

UnitedHealthcare to join the conspiracy, MultiPlan told UnitedHealthcare that 70% of its top 10

competitors used Data iSight to reprice out-of-network reimbursement claims. Although

MultiPlan, through its Executive Vice President, Dale White, “did not specifically name

competitors,” UnitedHealthcare executive Lisa McDonnel wrote that “from what he did say we

were able to glean who was who.” Accordingly, “to bring[] UnitedHeath back into alignment with

its primary competitor group on managing out-of-network costs,” it needed to start using

MultiPlan’s repricing tools. Indeed, a United Healthcare executive lamented in sworn testimony

that the company had fallen “behind some of [its] largest competitors” when it came to using

MultiPlan’s repricing tools to set the rate for reimbursing out-of-network claims. And according

to UnitedHealthcare’s Vice President of Network Payment Strategy, Rebecca Paradise, knowing

that Data iSight “was widely used by our competitors” factored critically into UnitedHealthcare’s

decision to join the conspiracy.

       226.    In addition to informing UnitedHealthcare about where it stood on pricing among

its peers, MultiPlan recommended how UnitedHealthcare should set its reimbursement rate.

MultiPlan specifically advised that UnitedHealthcare should never pay more than 350% of the

unsustainably low Medicare reimbursement rate to bring it “in line with another competitor . . .



                                                55
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page56
                                                             57ofof86
                                                                    87PageID
                                                                       PageID#:56
                                                                              #:360




leading the pack along with another competitor.”

          227.   Former UnitedHealthcare executive John Haben testified that, throughout the

conspiracy, MultiPlan provided UnitedHealthcare with information about competitor pricing. In

fact, MultiPlan, as the conspiracy’s hub, arranged for Client Advisory Board meetings where the

spokes of this conspiracy, the Non-MultiPlan Defendants and co-conspirators, could come together

to discuss how to better use MultiPlan to effectuate their anticompetitive scheme.

          228.   This agreement between UnitedHealthcare and MultiPlan formed one spoke of the

conspiracy. Every agreement between MultiPlan and its 700+ payor customers, including the

agreements between MultiPlan and the top 15 health insurance payors, is another spoke in the

hub-and-spoke conspiracy. MultiPlan convinced these other payors to use its claim repricing tools

by using similar tactics to those it employed with United Healthcare, i.e., by advertising these tools

as a way for payors to align reimbursement rates with their competitors.

          229.   MultiPlan then encouraged continued commitment to the conspiracy by telling the

“spokes” about which of their competitors used the claim repricing tools and how those tools

allowed those competitors to profit by artificially suppressing reimbursements for out-of-network

claims.

          230.   The Non-MultiPlan Defendants, therefore, knew that its competitors had adopted

or were considering adoption of the MultiPlan repricing tools as a way to underpay out-of-network

healthcare service providers.

          231.   Statements from Non-MultiPlan Defendants underscore the industry’s alignment

between competitors. In defending their use of MultiPlan’s repricing tools to generate exorbitant

shared “savings fees”, UnitedHealthcare calls the tools and fees “an industry-standard approach.”

Similarly, Cigna describes the shared savings fee as in “align[ment] with industry standards.”



                                                  56
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page57
                                                             58ofof86
                                                                    87PageID
                                                                       PageID#:57
                                                                              #:361




Defendants’ statements make it clear that they successfully operate and defend the conspiracy

because they know that their co-conspirators have agreed to do the same.

       232.    Sharing sensitive information facilitated the exchange of proprietary and

confidential claims data between conspirators and imposed discipline on the conspiracy. This

shared information also confirmed the agreement between the Non-MultiPlan Defendants and

co-conspirators to depart from the traditional “usual and customary” pricing model (or FAIR

health benchmarks) and instead use MultiPlan as a hub to fix the price for reimbursement of out-

of-network claims, thereby evidencing the conspiracy’s rim. And the information sharing

amplified Defendants’ motivation to take part in the conspiracy, as it alerted each conspirator that

any unilateral attempt to reduce prices would fail due to the conspiracy’s existence.

       233.    There is significant circumstantial evidence that the Non-MultiPlan Defendants

agreed to use MultiPlan’s claim repricing tools to suppress reimbursement rates on out-of-

network claims and thereby formed the conspiracy’s rim.

       234.    As the conspiracy’s hub, MultiPlan induced the spokes, i.e., the Non-MultiPlan

Defendants and co-conspirators, to move in parallel away from price competition on reimbursing

out-of-network claims, toward cooperatively using a shared pricing methodology for out-of-

network claim pricing. There are numerous plus factors that tend to exclude the possibility that

independent conduct gave rise to this parallel conduct.

       235.    No valid independent business reason exists for the Non-MultiPlan Defendants and

co-conspirators’ agreement to use MultiPlan’s repricing tools to artificially suppress the price

paid for out-of-network healthcare services. Large Payors, like United Healthcare, could, and

almost did, create internal repricing tools that did not rely on the use of shared claims data from

their competitors. Small Payors could use the FAIR Health benchmark to reprice claims. Instead,



                                                 57
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page58
                                                             59ofof86
                                                                    87PageID
                                                                       PageID#:58
                                                                              #:362




essentially all Payors, including the largest fifteen, agreed to use MultiPlan’s claim repricing

tools to suppress reimbursements. Why? MultiPlan assured the Non-MultiPlan Defendants and

their co-conspirators that they all could conspire without worry of being undercut by competitors

offering higher reimbursement rates.

               L.       The Conspiracy Is Per Se Illegal.

        236.        Regardless of the conspiracy’s form, Defendants’ agreement to use the same

method to fix the prices paid for out-of-network health services has clear anticompetitive effects

and offers no procompetitive benefits, rendering it a facially anticompetitive, per se illegal

restraint of trade.

        237.        Defendants knowingly provided and combined sensitive, nonpublic claims data

into MultiPlan’s algorithm and then relied on that common algorithm to set the reimbursement rate

for out-of-network healthcare claims, while knowing that its competitors would do the same.

Indeed, MultiPlan acknowledges that it “is deeply integrated into the proprietary claims

adjudication system of its customers” and uses all these proprietary data sources to “drive” its

analytics system.

        238.        Although this conspiracy harnesses new technology to accomplish its

anticompetitive ends, it is a classic price-fixing conspiracy that courts have long deemed per se

illegal. Indeed, the Sherman Antitrust Act’s broad language “embraces all forms of combination,

old and new,” confirming that the use of new technology to facilitate a traditional price-fixing

scheme does not inoculate Defendants from application of the per se rule. United States v. Union

Pac. R.R. Co., 226 U.S. 61, 85-86 (1912).

        239.        Defendants also cannot escape scrutiny under the per se rule simply by pointing to

the absence of an agreement on the final reimbursement rate for a given service. The per se rule



                                                    58
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page59
                                                             60ofof86
                                                                    87PageID
                                                                       PageID#:59
                                                                              #:363




applies because Defendants agreed to use the same method—MultiPlan’s repricing tools and

algorithms—to set reimbursement rates, and they knew that all other Defendants would rely on

those same tools and algorithms because MultiPlan specifically informed them of this before and

throughout the conspiracy. Simply put, Defendants understood that its competitors would rely on

MultiPlan’s algorithm to set reimbursement rates and it proceeded anyway, which suffices for

application of the per se rule.

              M.       The Conspiracy Harms Competition and Lacks Procompetitive Benefits.

       240.        The conspiracy harmed competition in the market for reimbursements for out-of-

network healthcare services claims by commercial payor Plaintiffs.

       241.        Defendants’ agreements to use MultiPlan’s repricing tools to suppress the

reimbursement rate for out-of-network services resulted in Defendants paying far less in out-of-

network reimbursements claims to healthcare providers than they would have in the absence of

the conspiracy. Absent this conspiracy, Defendants would have competed to adequately

compensate Plaintiffs for out-of-network healthcare services so that their insureds could have

wider access to a variety of healthcare providers, both in and outside their network.

       242.        The underpayment of claims for out-of-network services has most obviously

harmed Plaintiffs by giving them less money for the services they have provided to out-of-network

patients. As a result, Plaintiffs have less to spend on, among other things, staff salaries,

improvements to their facilities, increasing access to healthcare services, and medication and

equipment.

       243.        Plaintiffs cannot avoid the conspiracy’s anticompetitive effects. As explained

above, practically speaking, healthcare providers cannot reject MultiPlan’s offered reimbursement

rates and negotiate to obtain a better rate. As one healthcare provider explained, “When we reject



                                                   59
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page60
                                                             61ofof86
                                                                    87PageID
                                                                       PageID#:60
                                                                              #:364




a [proposed MultiPlan reimbursement rate], it takes months to get any payment and we never get

paid more than the amount” originally proposed. Indeed, sometimes MultiPlan will reduce the

reimbursement rate even further if the healthcare provider does not immediately acquiesce.

       244.    Defendants’ immense market power allows them to enforce compliance with their

reimbursement rates. Providers ultimately accept these sub-competitive rates as often as 99.4% of

the time and appeal them as infrequently as 2% of the time.

       245.    The scope of conspiracy’s harm is broader than healthcare providers. The

artificially suppressed payments for out-of-network healthcare services also harm healthcare

consumers. Limiting revenue to healthcare providers limits their ability to improve the quality of

and access to care. Plus, underpayments can also limit the supply of healthcare services by

causing healthcare providers to fail. For instance, Verity Health System’s bankruptcy caused the

closure of St. Vincent Medical Center in Los Angeles, California. Verity Health System

Liquidating Trust, in a separate lawsuit, attributes this bankruptcy to the conspiratorial behavior

alleged here. Other providers require patients to pay for treatment upfront or refuse to treat out-

of-network patients with certain health insurance plans because of their frustration with reduced

reimbursement rates and the struggles to negotiate for higher rates.

       246.    The conspiracy puts rural hospitals at special risk of closing. As explained by the

American Hospital Association (“AHA”): “America’s rural and community hospitals need

competitive reimbursements from commercial payors to carry out their core mission of providing

care for their patients and communities.” AHA Amicus Br. at 10. A recent study

          estimate[es] that “[m]ore than 200 rural hospitals are at immediate risk of
          closure because they aren’t making enough money to cover the rising cost of
          providing care, and their low financial reserves leave them little margin for
          error.” The same study found that another 400 rural hospitals “are at risk of
          closure in the near future.” The article notes that payments “particularly from
          commercial insurance plans” have failed to keep up with cost increases. These


                                                 60
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page61
                                                             62ofof86
                                                                    87PageID
                                                                       PageID#:61
                                                                              #:365




         insufficient payments are even more problematic for rural hospitals: relative to
         urban hospitals, rural hospitals serve less populated areas and are therefore “less
         likely to see enough patients on average to cover costs.”

  Id. at 9–10 (citations omitted).

        247.   Other rural healthcare providers also feel the pinch caused by the conspiracy. A

rural Virginia provider of behavioral therapy services for children with autism charges the

Medicaid reimbursement rate for her services. Nevertheless, Aetna, relying on MultiPlan’s

repricing tools, would only pay her half the Medicaid rate.

        248.   The conspiracy also capitalizes on the inability of hospital emergency departments

to avoid the conspiracy’s effects.

        249.   Per the United States Centers for Disease Control and Prevention, there were 139.8

million emergency department visits in 2021, or 42.7 per 100 people. Commercial health insurance

covered just over 45 million of these emergency department visits.

        250.   According to the AHA, as of 2020, there were 4,589 emergency departments in the

United States. Just under 49,000 doctors staffed these emergency departments.

        251.   The importance of emergency care to the American health system continues to

grow. As recent studies have shown, the rate of visits to emergency departments has outpaced the

population growth rate.

        252.   Emergency department medical services have highly inelastic demand. Inelastic

demand means that when a price for a product or service increases, consumers’ buying habits stay

about the same, and when the price for a product or service decreases, consumers’ buying habits

also remain relatively unchanged. Frequently, patients have little or no choice concerning where

they receive emergency care. And rarely can they or should they avoid or postpone emergency

care.

        253.   Hospitals must provide emergency medical services to all those who seek them.

                                                61
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page62
                                                             63ofof86
                                                                    87PageID
                                                                       PageID#:62
                                                                              #:366




The Emergency Medical Treatment and Labor Act (“EMTALA”), 42 U.S.C. § 1395dd, requires

emergency medical departments to “provide for an appropriate medical screening examination”

when someone seeks care from an emergency medical department. Id. at § 1395dd(a). Those

departments must “stabilize” any person with “an emergency medical condition” without asking

about “the individual’s method of payment or insurance status.” Id. at § 1395dd(b), (h). Each

violation of the EMTALA results in monetary penalties of up to $50,000. Id. § 1395dd(d)(1)(A).

State laws impose similar requirements. N.Y. Comp. Codes R. & Regs. tit. 10, § 405.19(e)(1); Fla.

Stat. § 395.1041.

        254.    Although commercial insurance networks generally require healthcare providers to

obtain preauthorization before providing healthcare services, that general practice does not apply

to the provision of emergency healthcare services. See 26 U.S.C. § 9816(a)(1)(A); N.Y. Ins. Law

§ 3221(k)(4)(A)(i); Fla. Stat. § 627.64194(2)(A).

        255.    Hospital emergency departments rely on commercial insurance providers, such as

Defendants, to fairly reimburse them for out-of-network healthcare services to offset the financial

imposition caused by the requirement that they treat all people seeking emergency healthcare

services regardless of their ability to pay. When commercial insurance companies fail to fairly

reimburse healthcare providers, they abuse the system. N.Y. City Health & Hosps. Corp. v. Wellcare

of N.Y., Inc., 937 N.Y.S.2d 540, 545 (N.Y. App. Div. 2011) (“[W]here, as here, a hospital is required

by law to treat patients in an emergency room, an insurance company is unjustly enriched if it fails

to pay the hospital in full for the costs incurred in rendering the necessary treatment to the insurer’s

enrollees.”).

        256.    Defendants here have abused the system in just this way—and placed an unfair

financial burden on Plaintiffs—by conspiring to underpay healthcare providers for out-of-



                                                  62
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page63
                                                             64ofof86
                                                                    87PageID
                                                                       PageID#:63
                                                                              #:367




network healthcare services. Due to the conspiracy, commercial health insurance companies

generally pay 50% or less of the value of emergency department out-of-network claims. For

example, one study of Florida emergency department visits found that the average emergency

doctor charged $679 per visit even though the FAIR Health database, which collects publicly

available data from billions of health insurance claims, identified $950 as the 80th percentile

charge for high acuity emergency department visits. Despite the reasonableness of the

emergency doctors’ charges, insurers still typically paid only $307 per claim. Thus, the average

emergency doctor provider $138,000 in free emergency healthcare annually.

         257.   The COVID-19 pandemic only increased the strain on America’s hospitals. The

AHA explains that “the pandemic triggered a nationwide financial crisis for hospitals and health

systems. During the early stages of the pandemic, America’s hospitals provided lifesaving care to

millions as most of the country remained in lockdown. Yet, at the same time, hospitals incurred

devastating financial losses.” AHA Amicus Br. at 3. Although society has weathered the worst of

the pandemic, “hospitals still feel [its] economic effects.” Id. Yet, at the same time, “the large

commercial health insurers that use MultiPlan are more profitable than ever. COVID-19, it turns

out, was a financial boon to the commercial health insurance industry.” Id. at 7. Despite this

dynamic, Defendants’ conspiracy continues unabated. Indeed, Defendants intend to expand its

scope.

         258.   Defendants hypothesize that its conspiracy benefits consumers by reducing

consumer healthcare costs. But that theory does not match reality. As one healthcare analyst

explained:

          Theoretically, MultiPlan’s harsh negotiation tactics should be good for rising
          American health care costs; insurers are supposed to lower costs by negotiating
          lower prices on behalf of the patient. But instead, MultiPlan acts like a mafia
          enforcer for insurers, forcing doctors to accept low payments while insurance


                                                 63
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page64
                                                             65ofof86
                                                                    87PageID
                                                                       PageID#:64
                                                                              #:368




          premiums for patients . . .somehow continue to rise.

         259.   Statistical evidence supports this analysis. The Centers for Medicare and Medicaid

Services found that out-of-pocket health expenditures increased $67.3 billion, or 18.3%, from

2016, the year before the conspiracy started, to 2021. It projects another $86.4 billion in increased

out-of-pocket expenditures between 2021 and 2025, equating to a 42% increase in out-of-pocket

health care expenditures during the conspiracy.

         260.   Private health insurance expenditures have seen similar increases: $180.6 billion,

or 17.5%, from 2016 to 2021, with another $320.8 billion between 2021 to 2025, for a 48.6%

increase in private health insurance expenditures during the conspiracy.

         261.   Plus, healthcare providers report that MultiPlan has rewarded them for inflating the

prices they charge for services. Indeed, healthcare providers must do this just to receive

MultiPlan’s artificially suppressed reimbursement rates. At bottom, the conspiracy helps

Defendants alone to the detriment of healthcare providers and consumers.

         262.   When sworn to tell the truth, Defendants’ executives admitted to the reasonableness

of healthcare providers’ charges for out-of-network services. For example, at trial, former United

Healthcare executive John Haben undercut United Healthcare’s mischaracterization of emergency

department charges as “egregious.” He specifically refused to label a $1,428 bill as “egregious,”

saying that the life-saving care justified the “reasonable” charge. He testified that, “[i]f you put it

in the perspective of saving somebody’s life, $1,400 is not a lot of money.” Conversely, he

characterized United Healthcare’s reimbursement rate of $254, which MultiPlan facilitated, as

“low.”

         263.   A recent study shows the importance of emergency healthcare services in not only

providing life-saving care to patients, but also in controlling healthcare costs. Laura G. Burke, et

al., Trends in Costs of Care for Medicare Beneficiaries Treated in the Emergency Department from

                                                  64
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page65
                                                             66ofof86
                                                                    87PageID
                                                                       PageID#:65
                                                                              #:369




2011 to 2016, JAMA Network Open (Aug. 2020). As the study’s lead author explained:

          Too often discussions of the cost of emergency care fail to consider the bigger
          picture—that spending on emergency care can save lives, alleviate suffering and
          in some instances avoid the need for a more expensive hospitalization.
          Emergency
          physicians treat anyone, anytime and serve as the safety net for the nation’s
          acute care system.

       264.    Too busy maligning healthcare providers and too focused on their bottom line,

Defendants “fail to consider the bigger picture.”

       265.    MultiPlan also claims that its repricing tools, specifically Data iSight, makes

providers “less likely to balance bill members.” But patients tell a different story.

       266.    One patient received a bill exceeding $100,000 after UnitedHealthcare, relying on

MultiPlan’s claim repricing tools, paid only $5,449.27 to a doctor who performed a lengthy,

complicated procedure to repair tissue and close a wound when her incision from heart surgery

failed to heal. Another patient who received a large bill from her therapist due to MultiPlan’s claim

repricing tools stopped receiving the therapy she needed due to the expense, explaining that “they

basically took away the mental health care I was getting.” One woman incurred tens of thousands

in bills for opioid addiction treatment for her teenage son because of her insurer’s use of

MultiPlan’s repricing tools. Another woman who received insurance through Aetna incurred about

$60,000 in medical bills to see a specialist for her chronic back pain.

       267.    Unfortunately, examples like these of rising consumer costs due to MultiPlan’s

claim repricing tools, specifically Data iSight, abound: One woman saw chiropractor

appointments to manage chronic pain double in cost. Another’s therapy appointments became

nearly twice as costly. One man had to pay more than two-thirds of the bill for an ambulance to

take his 14-year- old son to the emergency room. And another received almost $300,000 in

charges for spine surgery.


                                                 65
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page66
                                                             67ofof86
                                                                    87PageID
                                                                       PageID#:66
                                                                              #:370




       268.        At the same time consumers are receiving large bills to compensate for the

underpayments generated by the MultiPlan repricing tools, the consumers also receive audacious

letters from the same insurance companies characterizing the billed amounts as savings.

       269.        For example, one insurer identified thousands of dollars of fertility treatments that

a woman was billed for as an amount that she “saved.” Another man paid the portion of a claim

identified as his “discount” so his daughter could receive occupational and speech therapy.

       270.        Patients cannot avoid or ameliorate the problem by attempting to pay charges up

front and seek reimbursement. One man explained that he paid for therapy up front, only to have

his reimbursement rates, like those of healthcare providers, drop.

       271.        And finally, as explained above, the “processing fees” that Payors charge to their

customers impose significant healthcare costs on employers or other entities with self-funded

insurance plans administered by the payors.

              N.     Defendants’ Actions Have No Procompetitive Benefits.

       272.        Defendants’ collective pricing scheme has harmed competition while producing

no procompetitive effects.

       273.        While Defendants’ misconduct has increased their revenues and profits, it has

harmed competition, healthcare providers, and consumers. Defendants have systematically paid

sub- competitive reimbursements for out-of-network healthcare services, which reduces the

revenue available to healthcare providers to improve and expand access to healthcare. The

conspiracy has also already limited consumers’ healthcare options due to hospital closures forced

by the conspiracy. The conspiracy does not, however, contain healthcare costs. Defendants

burden healthcare providers and consumers to benefit themselves alone, all while unfairly

labeling healthcare reimbursement claims as “egregious” to justify their misconduct.



                                                    66
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page67
                                                             68ofof86
                                                                    87PageID
                                                                       PageID#:67
                                                                              #:371




        274.    Defendants’ conspiracy has introduced inefficiencies and artificially reduced

payments to healthcare service providers providing the out-of-network care that is vital to our

healthcare system. Simply put, the conspiracy provides no procompetitive benefits.

        275.    Even assuming the existence of any de minimis procompetitive benefit from

Defendants’ misconduct, it could not outweigh the significant and ongoing anticompetitive

effects of the conspiracy.

                                  INTERSTATE COMMERCE

        276.    Defendants’ conduct as described herein has engaged in and substantially affected

interstate commerce. Healthcare providers that Defendants reimburse for out-of-network health

services, such as Plaintiffs, provide services, goods, and facilities to people who reside in many

states. Defendants also operate PPOs throughout the United States. Defendants’ conspiracy

comes within the flow of and intentionally, directly, substantially, and reasonably foreseeably

affects interstate commerce in the United States.

                               FRAUDULENT CONCEALMENT

        277.    Defendants have affirmatively and fraudulently concealed the conspiracy by

various means and methods from at least July 1, 2017, through the present. Thus, Plaintiffs had

neither actual nor constructive knowledge of the facts giving rise to their claim for relief. They

did not discover, nor could they have discovered through the exercise of reasonable diligence,

the existence of Defendants’ conspiracy until shortly before filing this Complaint.

        278.    Defendants engaged in a secret and inherently self-concealing conspiracy that did

not reveal facts sufficient to put Plaintiffs on inquiry notice.

        279.    Defendants intentionally conducted their anticompetitive scheme outside of

public scrutiny:



                                                  67
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page68
                                                             69ofof86
                                                                    87PageID
                                                                       PageID#:68
                                                                              #:372




            A.      The Non-MultiPlan Defendants privately submitted their own claims
                    data to MultiPlan, and MultiPlan in turn used its proprietary repricing
                    tools, the details of which remain confidential, to recommend
                    reimbursement rates;

            B.      Defendants regularly attended invitation-only industry events,
                    including ones MultiPlan held and sponsored, where they discussed
                    behind closed doors how MultiPlan’s repricing tools allowed them to
                    reduce costs by suppressing out-of-network reimbursement rates; and

            C.      Defendants had private communications and meetings to discuss out-
                    of-network claim repricing, MultiPlan’s repricing tools, and use of
                    those tools, including by each Defendant’s competitors.

         280.    Although MultiPlan claims to provide an explanation of its pricing methodology

to providers, it and the Non-MultiPlan Defendants intentionally hid from Plaintiffs that they

outsourced pricing of out-of-network reimbursement claims to a shared pricing system that used

Defendants’ real-time, non-public claims data and combined it with their competitors’ real-time,

non-public claims data to set out-of-network reimbursement rates.

         281.    Defendants, as competitors, enter into horizontal agreements to artificially

suppress reimbursements to healthcare providers for out-of-network healthcare services. Those

agreements contain non-disclosure and confidentiality clauses that prevent dissemination of the

contracts’ terms. Because Plaintiffs are not parties to those agreements, they did not and could

not reasonably access the contract terms that would possibly have alerted them to the antitrust

claim.

         282.    MultiPlan also made false and misleading statements to conceal that it colluded

with its competitors—other commercial health insurance companies—to artificially suppress

payments to healthcare providers.

         283.    MultiPlan publicly states that it is not a commercial health insurance company.

         284.    For instance, a banner at the top of its homepage states, in bold, that, “We are

not an insurance company.” Elsewhere on its website, MultiPlan states that, “MultiPlan is not a


                                                  68
    Case:
      Case:
          1:24-cv-06795
            1:24-cv-06776
                        Document
                          Document
                                 #: #:
                                    59-1
                                       1 Filed:
                                          Filed:08/01/24
                                                 08/28/24Page
                                                          Page69
                                                               70ofof86
                                                                      87PageID
                                                                         PageID#:69
                                                                                #:373




health insurance company and does not sell insurance directly or indirectly through agents or

brokers.” And in the “About MultiPlan” section of its press releases, MultiPlan describes itself

as the “partner” of health insurance companies, nowhere disclosing that it is also a health

insurance company.

        285.    Because MultiPlan is, in fact, a health insurance company, these statements are, at

best, misleading. MultiPlan operates one of the largest and most well-established PPO networks

in the United States. In fact, it claimed that it became “the largest independent primary PPO

network in the US” in 2006.

        286.    As with other health insurance networks, users access the healthcare providers in

MultiPlan’s PPO network for a fee. MultiPlan then administers and adjudicates claims for

healthcare services in that network. The only difference between MultiPlan’s network and other

health insurance networks is that MultiPlan opts to negotiate with other health insurance

companies, instead of employers or individual subscribers, to access its network. Simply put,

MultiPlan’s statements that it is “not a health insurance company” are false. Nevertheless,

MultiPlan repeatedly made these statements intending for Plaintiffs and healthcare consumers to

rely on them.

        287.    Through Defendants’ knowing and active concealment of their misconduct,

Plaintiffs did not receive information that should have put them, or any reasonable person or

provider standing in their shoes, on sufficient notice of collusion worthy of further investigation.

        288.    Plaintiffs could not have had inquiry notice of Defendants’ collusion before

March 7, 2022 at the earliest, which is the date when an article on The Capitol Forum website

first raised concerns about MultiPlan’s antitrust compliance.5 The article and the law professors


5
 Multiplan: Company’s Information Sharing, Meetings Practices Could Raise Antitrust
Concerns, Experts Say, The Capitol Forum (Mar. 7, 2022),

                                                 69
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page70
                                                             71ofof86
                                                                    87PageID
                                                                       PageID#:70
                                                                              #:374




quoted in it did not, however, conclusively state that MultiPlan’s practices violated the antitrust

laws. An ordinary person acting reasonably diligently would not have had the time, resources, or

specialized training to uncover the misconduct that Plaintiffs, through counsel highly

experienced in antitrust class action litigation, have alleged in this Complaint.

        289.    Moreover, other lawsuits involving MultiPlan were insufficient to alert Plaintiffs

to the antitrust claims alleged herein. For instance, one suit involved in-network claims and did not

allege antitrust violations.6 Another did not allege a conspiracy between MultiPlan and health

insurance companies or raise an antitrust claim.7 Two others focused only on the relationship

between MultiPlan and one health insurance provider; and one of those suits did not raise an

antitrust claim.8 Finally, the Verity antitrust lawsuit filed in California state court, like the others

involving MultiPlan, also did not put Plaintiffs on notice of the claims asserted herein. In re

Mercedes-Benz Anti-Trust Litig., 157 F. Supp. 2d 355, 373 (D.N.J. 2001) (“[T]he filing of a

private lawsuit by an unrelated party in a different vicinage” would not “put consumers on notice

. . . that a price-fixing conspiracy was afoot.”).

        290.    The antitrust laws apply to reimbursement payments made to healthcare providers.

Plaintiffs, therefore, reasonably considered the market for reimbursement payments from

commercial health networks to be competitive before the recent events alleged herein.

        291.    Plaintiffs exercised reasonable diligence at all times since July 1, 2017. Plaintiffs

could not have discovered Defendants’ alleged misconduct sooner by exercising reasonable

diligence because of Defendants’ deceptive and secretive actions to conceal their misconduct.


https://thecapitolforum.com/multiplan-companys-information-sharing-meetings-practices-could-
raise-antitrust-concerns-experts-say/.
6
  See Plastic Surgery Ctr., P.A. v. Cigna Health & Life Ins. Co., No. 17-2055 (D.N.J.).
7
  See Hott v. MultiPlan, Inc., 21 Civ. 02421 (S.D.N.Y.).
8
  See LD v. United Behav. Health, 4:20cv2254 (N.D. Cal.) (no antitrust claim); Pac. Recovery Sols.
v. United Behav. Health, 4:20cv2249 (N.D. Cal.).

                                                     70
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page71
                                                             72ofof86
                                                                    87PageID
                                                                       PageID#:71
                                                                              #:375




       292.    Since discovering the possibility of anticompetitive conduct, Plaintiffs have

diligently examined Defendants’ behavior regarding the suppression of reimbursement rates for

out-of-network claims, their coordination regarding the same, and the effects of such suppression

through publicly available sources, such as Defendants’ public statements and media coverage

regarding Defendants and the actions underpinning this conspiracy. Once this investigation

revealed a basis for filing this claim, Plaintiffs promptly did so.

       293.    Defendants’ fraudulent concealment of their wrongful conduct has tolled and

suspended the running of the statute of limitations concerning the claims and rights of action of

Plaintiffs arising from the conspiracy, including all parts of the class earlier in time than the four

years immediately preceding this Complaint’s date.

                                  CONTINUING VIOLATION

       294.    Defendants’ conduct has also resulted in a continuing violation against Plaintiffs.

       295.    After the initial formation of the conspiracy, Defendants committed and continue

to commit overt acts that are part of the ongoing violation.

       296.    Defendants frequently meet at Client Advisory Board meetings and other ad hoc

meetings between MultiPlan and its customers to discuss how to improve their conspiracy’s

efficacy in suppressing out-of-network reimbursements to healthcare providers.

       297.    Defendants renew their MultiPlan contracts to strengthen and continue the

conspiracy, and these new agreements are continuing violations of the antitrust laws. These new

agreements include the 2022 contract between MultiPlan and UnitedHealthcare, which kept the

largest commercial health insurer in the conspiracy and ensured the conspiracy’s survival.

       298.    Defendants also forced shared savings agreements onto employee benefit plans to

lock in their profits from artificially suppressing out-of-network reimbursement rates.



                                                  71
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page72
                                                             73ofof86
                                                                    87PageID
                                                                       PageID#:72
                                                                              #:376




       299.    Defendants’ overt actions were new acts beyond the initial conspiracy agreement

and necessary to continue the conspiracy. These overt acts continue from at least July 1, 2017,

through the present. Renewing and strengthening the agreements that underpin the conspiracy

and locking in its benefits, has inflicted new and accumulating injury on Plaintiffs.

       300.    These continuing violations have tolled and suspended the running of the statute

of limitations concerning the claims and rights of action of Plaintiffs arising from the conspiracy,

including all parts of the class earlier in time than the four years immediately preceding this

Complaint’s date.

                           ANTITRUST INJURY AND STANDING

       301.    This conspiracy directly damages Plaintiffs’ businesses and property and restrains

competition in the market for reimbursements for out-of-network healthcare services paid by

commercial payors.

       302.    Plaintiffs have sustained and continue to sustain economic losses—the full amount

of which they will calculate after discovery and prove at trial—due to Defendants artificially

suppressing the reimbursement rate for out-of-network healthcare services.

       303.    But for the Defendants’ conspiracy to fix the price paid for out-of-network

healthcare services, Plaintiffs would have received fair and competitive reimbursements for their

out-of-network healthcare services.

       304.    While the conspiracy continues, Plaintiffs will continue to suffer losses.

       305.    The antitrust laws aim to prevent injuries such as those alleged here that stem

from a conspiracy among buyers to systematically suppress the price paid for a good or service,

such as out-of-network healthcare services. Indeed, it is axiomatic that agreements to reduce

price competition or fix prices violate the antitrust laws.



                                                  72
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page73
                                                             74ofof86
                                                                    87PageID
                                                                       PageID#:73
                                                                              #:377




       306.    Here, the Non-MultiPlan Defendants accept MultiPlan’s claim repricing tool

recommended rate between 98–99% of the time. In other words, the Non-MultiPlan Defendants

and co-conspirators outsource out-of-network claim pricing to MultiPlan. This shared pricing

“brain” relies on the real-time, proprietary claims data of their competitors to set prices between

98–99% of the time.

       307.    Even in those rare instances where the Non-MultiPlan Defendants and co-

conspirators do not defer completely to the MultiPlan rate, that artificially suppressed rate still

affects prices because it artificially lowers the baseline reimbursement rate from which the Non-

MultiPlan Defendants and co-conspirators base their ultimate rates.

       308.    Moreover, use of MultiPlan’s claim repricing tools to set collusive, artificially

suppressed reimbursements rates subverts the competitive process more generally by depriving

the market of “independent centers of decision-making” and replacing them with decision-

making on prices by one shared pricing “brain.” Am. Needle, Inc. v. Nat’l Football League, 560

U.S. 183, 190 (2010) (“‘Concerted activity inherently is fraught with anticompetitive risk’

insofar as it ‘deprives the marketplace of independent centers of decision-making that

competition assumes and demands.’” (quoting The antitrust laws also aim to prevent this

anticompetitive conduct.

                               CLASS ACTION ALLEGATIONS

       309.    Plaintiff brings this action on behalf of itself and the following class (“Class”) of

all others similarly situated under Federal Rule of Civil Procedure 23(a) and (b)(3):

          All persons or entities whom one or more of Defendants or co-conspirators, or
          a division, subsidiary, predecessor, agent, of affiliate of such entities, have
          reimbursed for out-of-network healthcare services from no later than July 1,
          2017, until Defendants’ unlawful conduct and anticompetitive effects cease.
          The class excludes federal and state governmental entities and judicial officers
          presiding over this case.


                                                 73
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page74
                                                             75ofof86
                                                                    87PageID
                                                                       PageID#:74
                                                                              #:378




       310.     The Class is so numerous that joinder of all members in this action is

impracticable. There are hundreds, if not thousands, of geographically dispersed Class members.

       311.     The Class members can be readily identified and notified in an administratively

feasible manner using, among other information, the Class members’ electronic transactional

records of out-of-network claims reimbursements.

       312.     Plaintiff’s claims are typical of those of the Class. Plaintiff and all Class members

claim that Defendants’ alleged misconduct violates Section 1 of the Sherman Antitrust Act.

Plaintiff and all Class members also allege and will show that the same anticompetitive and

unlawful conduct injured them and caused them to receive reimbursements for out-of-network

claims that were lower than what they would have received absent Defendants’ collusive conduct.

       313.     Plaintiff will fairly and adequately protect and represent the interests of the Class

members. The interests of Plaintiff and Plaintiff’s counsel fully align with, and are not antagonistic

to, the interests of the Class members. Plaintiff will and can dispatch the duties incumbent on a

class representative to protect the interests of all Class members. Plaintiff’s counsel also have

significant experience successfully prosecuting complex antitrust class actions, and they possess

the resources needed to vigorously litigate the case to the greatest extent necessary for the Class.

       314.     There are many legal and factual questions common to the Class and susceptible to

proof by the Class with evidence common to all Class members, including:

           A.      Whether Defendants formed a purely horizontal agreement,
                   combination, conspiracy, or common understanding in which they
                   artificially suppressed the rate paid on out-of-network healthcare
                   service reimbursement claims throughout the United States;

           B.      Whether, in the alternative, Defendants formed a hub-and-spoke
                   agreement, combination, conspiracy, or common understanding in
                   which they artificially suppressed the rate paid on out-of-network
                   healthcare service reimbursement claims throughout the United
                   States;


                                                  74
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page75
                                                             76ofof86
                                                                    87PageID
                                                                       PageID#:75
                                                                              #:379




           C.      Whether Defendants’ alleged misconduct constitutes a per se violation
                   of Section 1 of the Sherman Antitrust Act;

           D.      Whether Defendants’ alleged misconduct, in the alternative, violates
                   Section 1 of the Sherman Antitrust Act pursuant to a quick look or full
                   Rule of Reason analysis;

           E.      Whether Defendants’ alleged misconduct in fact caused Class
                   members throughout the United States to receive artificially
                   suppressed reimbursements on out-of-network healthcare service
                   reimbursement claims;

           F.      The proper measure of Class-wide damages;

           G.      The scope and extent of injunctive relief needed to remedy the
                   anticompetitive effects of Defendants’ alleged conduct going forward;
                   and

           H.      Whether Defendants fraudulently concealed the existence of the
                   alleged conspiracy or committed continuing antitrust violations
                   beyond the initial conspiratorial agreement, thereby tolling the statute
                   of limitations.

       315.     Counsel experienced and competent in prosecuting complex antitrust and

unfair competition class actions represent Plaintiff.

       316.     Legal and factual questions common to Class members will predominate over any

individualized legal or factual questions. Defendants have acted and refused to act on grounds

generally applicable to the Class.

       317.     In cases that allege price-fixing among competitors, including those with a

potential hub-and-spoke component, the common legal and factual question regarding the

conspiracy’s alleged existence by itself has been held to predominate over any possible

individualized issues, thus warranting certification. So too here.

       318.     Class treatment is the superior method for the fair and efficient adjudication of this

controversy. It allows the many Class members to prosecute their common claims, and Defendants

to defend themselves against these claims, in one court simultaneously and efficiently without the



                                                  75
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page76
                                                             77ofof86
                                                                    87PageID
                                                                       PageID#:76
                                                                              #:380




unnecessary duplication of effort and expense presented by separate actions. The benefits of

proceeding with this procedural mechanism, including providing injured people with a way to

obtain redress for claims that may be impracticable for them to pursue individually, substantially

outweigh any difficulties that may arise in the management of this case as a class action.

                                      CAUSES OF ACTION

                                         COUNT ONE
                         Horizontal Conspiracy in Restraint of Trade
                      Violation of Section 1 of the Sherman Antitrust Act
                                         (15 U.S.C. § 1)

       319.    Plaintiff incorporates and realleges, as though fully set forth herein, every

allegation set forth in the preceding paragraphs of this Complaint.

       320.    Plaintiff seeks monetary and injunctive relief on behalf of itself and all other Class

members under Section 4 of the Clayton Antitrust Act for Defendants’ conduct in violation of

Section 1 of the Sherman Antitrust Act.

       321.    Beginning no later than July 1, 2017, Defendants formed and engaged in a

continuing contract, combination, or conspiracy to unreasonably restrain interstate trade and

commerce in violation of Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1.

       322.    The contract, combination, or conspiracy alleged herein has consisted of a

continuing agreement among Defendants to knowingly and collectively use MultiPlan’s repricing

tools to set reimbursement rates for out-of-network healthcare services. This conspiracy has caused

Plaintiffs to receive artificially suppressed reimbursements for out-of-network healthcare services

during the Class Period.

       323.    As detailed above, the contract, combination, or conspiracy alleged herein has taken

the form of a horizontal conspiracy between competitors in the United States commercial health

insurance market.


                                                 76
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page77
                                                             78ofof86
                                                                    87PageID
                                                                       PageID#:77
                                                                              #:381




       324.     In the alternative, and as detailed above, the contract, combination, or conspiracy

alleged herein has taken the form of a horizontal conspiracy between competitors, Non-MultiPlan

Defendants, and a potential competitor, MultiPlan, in the United States commercial health

insurance market.

       325.     To further this contract, combination, or conspiracy, Defendants have committed

various acts, including the acts discussed above and those that follow:

           A.       Non-MultiPlan Defendants provided real-time, private, confidential,
                    and detailed internal claims data with MultiPlan for use in MultiPlan’s
                    out-of-network claim repricing tools;

           B.       MultiPlan sold and operated its out-of-network claim repricing tools
                    that repriced the reimbursement rate for out-of-network healthcare
                    services claims;

           C.       Defendants knowingly used the same out-of-network claim repricing
                    tools that incorporated other Defendants’ real-time, private,
                    confidential, and detailed internal claims data to calculate
                    reimbursement rates for out-of-network healthcare services claims;

           D.       Defendants paid reimbursements for out-of-network healthcare
                    services claims at the rates recommended by MultiPlan’s repricing
                    tools;

           E.       Defendants outsourced out-of-network claims handling to MultiPlan
                    knowing that MultiPlan would set the reimbursement rate for out-of-
                    network healthcare claims at the rates recommended by its repricing
                    tools;

           F.       Defendants exchanged sensitive real-time, private, confidential, and
                    detailed internal claims data with each other, including by using the
                    MultiPlan out-of-network claims repricing tools; and

           G.       Defendants used many forms and methods of bilateral and multilateral
                    communication across various settings and venues concerning the
                    reimbursement rate for out-of-network healthcare services claims,
                    including their use of MultiPlan’s out-of-network claim repricing
                    tools, that had the purpose and effect of maintaining and reinforcing
                    their anticompetitive scheme.

       326.     Defendants possess market power in the relevant antitrust market for



                                                 77
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page78
                                                             79ofof86
                                                                    87PageID
                                                                       PageID#:78
                                                                              #:382




reimbursements of healthcare services claims by commercial Payors. The relevant product market

is reimbursements of out-of-network healthcare services claims by commercial Payors. The

relevant geographic market is the United States.

       327.     Defendants’ contract, combination, or conspiracy has led to anticompetitive effects

in the form of artificially suppressed reimbursement rates for out-of-network healthcare services

claims that fall below the traditional and competitive rates for such claims.

       328.     As a direct and proximate result of Defendants’ past and continuing violation of

Section 1 of the Sherman Antitrust Act, Plaintiff has been injured in its business or property and

will continue to be injured in its business and property by receiving lower reimbursements for out-

of-network healthcare services claims than what it would have received absent the conspiracy.

       329.     There are no procompetitive justifications for the Defendants’ conspiracy, and to

the extent any proffered procompetitive justifications exist, they could have been achieved

through less restrictive means.

       330.     Defendants’ conspiracy is a per se violation of Section 1 of the Sherman

Antitrust Act. In the alternative, Defendants’ conspiracy violates Section 1 of the Sherman

Antitrust Act under either a quick look or full Rule of Reason analysis.

                                          COUNT TWO
                      Hub-and-Spoke Conspiracy in Restraint of Trade
              Violation of Section 1 of the Sherman Antitrust Act (15 U.S.C. § 1)
                           (Pled in the alternative to Counts 1 and 3)

       331.     Plaintiff incorporates and realleges, as though fully set forth herein, every

allegation set forth in the preceding paragraphs of this Complaint.

       332.     In the alternative to Count One, and as detailed above, the contract, combination,

or conspiracy to unreasonably restrain trade and commerce alleged herein has taken the form of a

hub-and-spoke conspiracy in which MultiPlan served as the hub, the agreements between


                                                  78
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page79
                                                             80ofof86
                                                                    87PageID
                                                                       PageID#:79
                                                                              #:383




MultiPlan and the Non-MultiPlan Defendants and co-conspirators to use MultiPlan’s claim

repricing tools served as spokes, and the agreement between the spokes to use MultiPlan’s

repricing tools to reprice reimbursement rates for out-of-network healthcare services claims serve

as the rim. This conduct, which began no later than July 1, 2017, violates Section 1 of the Sherman

Antitrust Act.

       333.      Plaintiff seeks monetary and injunctive relief on behalf of itself and all other

members of the Class under Section 4 of the Clayton Antitrust Act for this violation.

       334.      The contract, combination, or conspiracy alleged herein has consisted of a

continuing agreement among Defendants to knowingly and collectively use MultiPlan’s repricing

tools. This conspiracy has caused Plaintiffs to receive artificially suppressed reimbursements on

claims for out-of-network healthcare services during the Class Period.

       335.      To further this contract, combination, or conspiracy, Defendants have committed

various acts, including the acts discussed above and those that follow:

           A.       Non-MultiPlan Defendants provided real-time, private, confidential,
                    and detailed internal claims data with MultiPlan for use in MultiPlan’s
                    out-of-network claim repricing tools;

           B.       MultiPlan sold and operated its out-of-network claim repricing tools
                    that repriced the reimbursement rate for out-of-network healthcare
                    services claims;

           C.       Defendants knowingly used the same out-of-network claim repricing
                    tools that incorporated other Defendants’ real-time, private,
                    confidential, and detailed internal claims data to calculate
                    reimbursement rates for out-of-network healthcare services claims;

           D.       Defendants paid reimbursements for out-of-network healthcare
                    services claims at the rates recommended by MultiPlan’s repricing
                    tools;

           E.       Defendants outsourced out-of-network claims handling to MultiPlan
                    knowing that MultiPlan would set the reimbursement rate for out-of-
                    network healthcare claims at the rates recommended by its repricing
                    tools;


                                                   79
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page80
                                                             81ofof86
                                                                    87PageID
                                                                       PageID#:80
                                                                              #:384




           F.      Defendants exchanged sensitive real-time, private, confidential, and
                   detailed internal claims data with each other, including by using the
                   MultiPlan out-of-network claims repricing tools; and

           G.      Defendants used many forms and methods of bilateral and multilateral
                   communication across various settings and venues concerning the
                   reimbursement rate for out-of-network healthcare services claims,
                   including their use of MultiPlan’s out-of-network claim repricing
                   tools, that had the purpose and effect of maintaining and reinforcing
                   their anticompetitive scheme.

       336.     Defendants possess market power in the relevant antitrust market: the market for

reimbursements of healthcare services claims by commercial payors. The relevant product market

is reimbursements of out-of-network healthcare services claims by commercial payors. The

relevant geographic market is the United States.

       337.     Defendants’ contract, combination, or conspiracy has led to anticompetitive effects

in the form of artificially suppressed reimbursement rates for out-of-network healthcare services

claims that fall below the traditional and competitive rates for such claims.

       338.     As a direct and proximate result of Defendants’ past and continuing violation of

Section 1 of the Sherman Antitrust Act, Plaintiff has been injured in its business or property and

will continue to be injured in its business and property by receiving lower reimbursements for out-

of-network healthcare services claims than what it would have received absent the conspiracy.

       339.     There are no procompetitive justifications for Defendants’ conspiracy, and to the

extent any proffered procompetitive justifications exist, they could have been achieved through

less restrictive means.

       340.     Defendants’ conspiracy is a per se violation of Section 1 of the Sherman Antitrust

Act. In the alternative, Defendants’ conspiracy violates Section 1 of the Sherman Antitrust Act

under either a quick look or full Rule of Reason analysis.




                                                 80
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page81
                                                             82ofof86
                                                                    87PageID
                                                                       PageID#:81
                                                                              #:385




                                          COUNT THREE
                           Conspiracy to Unreasonably Restrain Trade
                Violation of Section 1 of the Sherman Antitrust Act (15 U.S.C. § 1)
                             (Pled in the alternative to Counts 1 and 2)

       341.    Plaintiff incorporates and realleges, as though fully set forth herein, every

allegation set forth in the preceding paragraphs of this Complaint.

       342.    In the alternative to Counts 1 and 2, and as detailed above, beginning no later than

July 1, 2017, MultiPlan engaged in a continuing agreement with the Non-MultiPlan Defendants

and co-conspirators to unreasonably restrain interstate trade and commerce in violation of Section

1 of the Sherman Antitrust Act. Each agreement between MultiPlan and the Non-MultiPlan

Defendants and co-conspirators to outsource the pricing of reimbursements for out-of-network

healthcare services claims to MultiPlan unreasonably restrains trade in violation of Section 1 of

the Sherman Antitrust Act.

       343.    Plaintiff seeks monetary and injunctive relief on behalf of itself and all other

members of the Class under Section 4 of the Clayton Antitrust Act for this violation.

       344.    The contract, combination, or conspiracy alleged herein has consisted of continuing

agreements between MultiPlan and the Non-MultiPlan Defendants and co-conspirators to

knowingly and collectively use MultiPlan’s repricing tools to artificially suppress the

reimbursement rates for out-of-network healthcare services claims. This conspiracy has

intentionally harmed the market for reimbursements for out-of-network healthcare services claims

by artificially suppressing the reimbursement rates for out-of-network healthcare services claims

and has harmed Plaintiff by causing it to receive artificially suppressed reimbursements for out-

of-network healthcare services claims during the Class Period.

       345.    To further this contract, combination, or conspiracy, Defendants have committed

various acts, including the acts discussed above and those that follow:


                                                 81
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page82
                                                             83ofof86
                                                                    87PageID
                                                                       PageID#:82
                                                                              #:386




           A.      Non-MultiPlan Defendants provided real-time, private, confidential,
                   and detailed internal claims data with MultiPlan for use in MultiPlan’s
                   out-of-network claim repricing tools;

           B.      MultiPlan sold and operated its out-of-network claim repricing tools
                   that repriced the reimbursement rate for out-of-network healthcare
                   services claims;

           C.      Defendants knowingly used the same out-of-network claim repricing
                   tools that incorporated other Defendants’ real-time, private,
                   confidential, and detailed internal claims data to calculate
                   reimbursement rates for out-of-network healthcare services claims;

           D.      Defendants paid reimbursements for out-of-network healthcare
                   services claims at the rates recommended by MultiPlan’s repricing
                   tools;

           E.      Defendants outsourced out-of-network claims handling to MultiPlan
                   knowing that MultiPlan would set the reimbursement rate for out-of-
                   network healthcare claims at the rates recommended by its repricing
                   tools;

           F.      Defendants exchanged sensitive real-time, private, confidential, and
                   detailed internal claims data with each other, including by using the
                   MultiPlan out-of-network claims repricing tools; and

           G.      Defendants used many forms and methods of bilateral and multilateral
                   communication across various settings and venues concerning the
                   reimbursement rate of out-of-network healthcare services claims,
                   including their use of MultiPlan’s out-of-network claim repricing
                   tools, that had the purpose and effect of maintaining and reinforcing
                   their anticompetitive scheme.

       346.     Defendants possess market power in the relevant antitrust market: the market for

reimbursements of healthcare services claims by commercial payors. The relevant product market

is reimbursements of out-of-network healthcare services claims by commercial payors. The

relevant geographic market is the United States.

       347.     Defendants’ agreements have led to anticompetitive effects in the form of

artificially suppressed reimbursement rates for out-of-network healthcare services claims that fall

below the traditional and competitive rates for such claims.



                                                82
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page83
                                                             84ofof86
                                                                    87PageID
                                                                       PageID#:83
                                                                              #:387




       348.    As a direct and proximate result of Defendants’ past and continuing violations of

Section 1 of the Sherman Antitrust Act, Plaintiff has been injured in its business or property and

will continue to be injured in its business and property by receiving reimbursements for out-of-

network healthcare services claims that are lower than what it would have received absent these

agreements in restraint of trade.

       349.    There are no procompetitive justifications for Defendants’ agreements, and any

proffered procompetitive justifications, to the extent any exist, could have been achieved through

less restrictive means. Defendants’ agreements, therefore, violate Section 1 of the Sherman

Antitrust Act under a Rule of Reason analysis.

                                    REQUEST FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of itself and the Class of all others similarly situated,

respectfully requests judgment against Defendants as follows:

          A.       The Court determine that this action may be maintained as a class action
                   under Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure, appoint
                   Plaintiff as Class Representative and Plaintiff’s counsel of record as Class
                   Counsel as separately requested and as indicated below, and direct that
                   notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of
                   Civil Procedure, be given to the Class once certified;

          B.       The unlawful conduct, conspiracy, or combination alleged herein be
                   adjudged and decreed to violate Section 1 of the Sherman Antitrust Act;

          C.       Plaintiff and the Class recover damages, to the maximum extent allowed
                   under the applicable laws, and that a joint and several judgment in favor of
                   Plaintiff and the members of the Class be entered against Defendants in an
                   amount to be trebled under applicable law;

          D.       Defendants, their affiliates, successors, transferees, assignees, officers,
                   directors, partners, agents, and employees thereof, and all other people
                   acting or claiming to act on their behalf or in concert with them, be
                   permanently enjoined and restrained from continuing, maintaining, or
                   renewing the conduct, conspiracy, or combination alleged herein, or from
                   entering into any other conspiracy or combination having a similar purpose
                   or effect, and from adopting or following any practice, plan, program, or
                   device having a similar purpose or effect;

                                                 83
  Case:
    Case:
        1:24-cv-06795
          1:24-cv-06776
                      Document
                        Document
                               #: #:
                                  59-1
                                     1 Filed:
                                        Filed:08/01/24
                                               08/28/24Page
                                                        Page84
                                                             85ofof86
                                                                    87PageID
                                                                       PageID#:84
                                                                              #:388




            E.       Plaintiff and the Class be awarded pre- and post-judgment interest in the
                     maximum amount and to the maximum extent permitted by law;

            F.       Plaintiff and the Class recover their costs of suit and reasonable attorneys’
                     fees to the maximum extent allowed by law; and

            G.       Plaintiff and the Class be awarded any other relief as the case may require
                     and the Court may deem just and proper.

                                      JURY TRIAL DEMAND

          Plaintiff demands a jury trial under Federal Rule of Civil Procedure 38(b) on all triable
issues.


Dated: July 31, 2024                           /s/ Kenneth A. Wexler
                                               Kenneth A. Wexler
                                               Justin N. Boley
                                               Melinda J. Morales
                                               WEXLER BOLEY & ELGERSMA LLP
                                               311 S. Wacker Dr., Suite 5450
                                               Chicago, IL 60606
                                               Telephone: (312) 346-2222
                                               kaw@wbe-llp.com
                                               jnb@wbe-llp.com
                                               mjm@wbe-llp.com

                                               Daniel E. Gustafson
                                               Daniel C. Hedlund
                                               Amanda M. Williams
                                               Kaitlyn L. Dennis
                                               GUSTAFSON GLUEK PLLC
                                               120 South Sixth Street, Suite 2600
                                               Minneapolis, MN 55402
                                               Telephone: (612) 333-8844
                                               dgustafson@gustafsongluek.com
                                               dhedlund@gustafsongluek.com
                                               awilliams@gustafsongluek.com
                                               kdennis@gustafsongluek.com

                                               Dianne M. Nast
                                               Daniel N. Gallucci
                                               Michael S. Tarringer
                                               Michele S. Burkholder
                                               NASTLAW LLC


                                                  84
Case:
  Case:
      1:24-cv-06795
        1:24-cv-06776
                    Document
                      Document
                             #: #:
                                59-1
                                   1 Filed:
                                      Filed:08/01/24
                                             08/28/24Page
                                                      Page85
                                                           86ofof86
                                                                  87PageID
                                                                     PageID#:85
                                                                            #:389




                                     1101 Market Street, Suite 2801
                                     Philadelphia, PA 19107
                                     Tel: (215) 923-9300
                                     dnast@nastlaw.com
                                     dgallucci@nastlaw.com
                                     mtarringer@nastlaw.com
                                     mburkholder@nastlaw.com


                                     Kevin Landau
                                     Miles Greaves
                                     Evan Rosin
                                     TAUS, CEBULASH & LANDAU, LLP
                                     123 Williams St., Suite 1900A
                                     New York, NY 10038
                                     Telephone: (646) 873-7654
                                     klandau@tcllaw.com
                                     atamoshunas@tcllaw.com
                                     mgreaves@tcllaw.com

                                     Simon Bahne Paris
                                     Patrick Howard
                                     SALTZ, MONGELUZZI,
                                     & BENDESKY, P.C.
                                     One Liberty Place, 52nd Floor
                                     1650 Market Street
                                     Philadelphia, PA 19103
                                     Tel:(215) 575-3986
                                     sparis@smbb.com
                                     phoward@smbb.com

                                     David M. Cialkowski (IL Bar #6255747)
                                     ZIMMERMAN REED LLP
                                     1100 IDS Center
                                     80 S. 8th St.
                                     Minneapolis, MN 55402
                                     Tel: (612) 341-0400
                                     david.cialkowski@zimmreed.com

                                     Arthur N. Bailey
                                     Marco Cercone
                                     RUPP PFALZGRAF, LLC
                                     1600 Liberty Building


                                       85
Case:
  Case:
      1:24-cv-06795
        1:24-cv-06776
                    Document
                      Document
                             #: #:
                                59-1
                                   1 Filed:
                                      Filed:08/01/24
                                             08/28/24Page
                                                      Page86
                                                           87ofof86
                                                                  87PageID
                                                                     PageID#:86
                                                                            #:390




                                     424 Main Street
                                     Buffalo, NY 14202
                                     Telephone: (716) 854-3400
                                     bailey@RuppPfalzgraf.com
                                     cercone@RuppPfalzgraf.com

                                     Attorneys for Plaintiff




                                       86
